Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Exhibit D
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

: SILVERMAN
uy ACAMPORA

Character is Everything? = LLP
Attmnesys
108 ferighe Quadrangle. Sunte 300, Jericho. New York 117453
SIGATYOIOO
yaw SulyennanAcamypsira.com

Invoice submitted to: Fed ID # XX-XXXXXXX

Official Committe of Unsecured Creditors

Invoice Date: February 14, 2017

066648 1 Client # 066648 Official Committee of Unsecured Creditors
Matter # 1 Dowling College

Invoice # 116887
Professional services

 

Hours Amount
Asset Analysis

12/1416 ACA Review lien issues 0.40 250.00

12/15/16 ACA Conference with Kenneth P. Silverman regarding 0.50 312.50
continuing review of security lien and collateral
documentation for bond holders

12/23/16 ACA Review bank documents regarding bond liens 3.30 2,062.50

01/03/17 RJF Confer with Anthony C. Acampora regarding lien 0.20 117.00
analysis

01/03/17. ACA Confer with Ronald J. Friedman regarding lien 0.20 125.00
analysis

01/03/17 ACA Review bond documents in connection with potential 1.20 750.00
claim objection

01/04/17 ACA Review bond documents in connection with potential 1.80 1,125.00
claim objection

01/05/17 ACA Review band lien documents 2.80 1,750.00

01/06/17 ACA Review documents in conection with bond liens 1.30 812.50

01/09/17 ACA Review lien documents for Suffolk Industrial 3.00 1,875.00
Development Agency

01/10/17 ACA Review and analyze lien documents relating to 1.50 937.50
Suffolk IDA

01/11/17 KPS Conference with Ronald J. Friedman regarding 0.20 139.00

negotiating settlement of lender claims in plan
066648

01/16/17 ACA
01/17/17 ACA
01/17/17 ACA
01/18/17 PMC
01/18/17 ACA
01/18/17 ACA
01/18/17 RJF
01/19/17 BYVP
01/20/17 BYP
01/20/17 ACA
01/23/17 GRL
01/23/17 BWP
01/23/17 ACA
01/24/17 ACA
01/24/17 ACA
01/24/17 ACA
01/25/17 KPS
01/27/17 ACA
01/30/17 ACA

Asset Sale

12/13/16 GRL
12/13/16 RJF

Case o-Lo0-/o040-reg VOC 500-4 Filed O4iZo/lf

Committee Unsecured Creditors

Subtotal

process

Review bond documents

Review and analyze bond documents

Review insurance policies regarding potential
litigation

Review Debtors Initial Report re: trust/endowment
funds and discuss with Ronald J. Friedman

Conference with Kenneth P. Silverman regarding
review of director's and officers insurance and
potential claims against board of directors

Review IDA documents

Conference with Patricia M. Colgan regarding
charitable trust documents for endowment or
restricted accounts

Review and reply to e-mail from Lori Zaikowski
regarding endowed scholarship funds and Debtor's
investigation into same

Review e-mail from Lauren Kiss and related
documents concerning funds held by TD Wealth

Continue bond lien analysis

Review correspondence from Lauren Kiss regarding
judgment lien search

Review lien search documents provided by Debtor's
counsel

Review Suffolk IDA liens
Review IDA bends and liens
Continue bond lien review and analysis

Conference with Kenneth P. Silverman regarding lien
analysis issues

Conference with Anthony C. Acampora regarding
potential sources of recoveries

Review bond documents and begin drafting
memorandum regarding lien issues

Continue bond analysis; continue drafting lien
memorandum

Asset Analysis

Telephone call from Ronald J. Friedman regarding
call with real estate brokers

Telephone call with Sean Southard, counsel to
Debtor regarding bid procedures and proposed

Invoice # 116887

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Page 2
1.60 1,000.00
1.40 875.00
2.20 1,375.00
0.30 127.50
0.20 125.00
1.10 687.50
0.10 58.50
0.30 97.50
0.40 130.00
1.90 1,187.50
0.10 58.50
0.40 130.00
1.79 1,062.50
3.10 1,937.50
1.00 625.00
0.40 250.00
0.20 139.00
3.10 1,937.50
4.30 2,687.50
40.20 $24,747.00
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0.50 292.50
066648

12/13/16

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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

RJF

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revisions

Review and analyze motion to approve bid
procedures and bid procedures and proposed order
and revise same

Review correspondence from Ronald J. Friedman
regarding revised bid procedures (.1); review
procedures (.2}; review correspondence from Ronald
J. Friedman to Sean Southard regarding co-broker
provision (.1)}

Review correspondence from Ronald J. Friedman
regarding revised bid procedures and review
revisions (.2)

Telephone call to Ronald J. Friedman regarding sale
and marketing materials

Prepare correspondence to Andy Graiser of A&G
regarding marketing brochure and status report

Review marketing materials and case status report of
inquiries from interested parties

Review correspondence from Sean Southard
regarding Court's revisions to bid procedures (.1);
review correspondence from Rich McCord regarding
same (7 emails) (.4); review revised notice and order
and bid procedures (.3); review correspondence from
Ronald J. Friedman regarding same (.1)

Conference with Ronald J. Friedman regarding
potential stalking horse contract vendee

Conference with Ronald J. Friedman regarding sale
and bid procedures

Conference with Gerard R. Luckman regarding sales
and marketing strategy

Conference with Kenneth P. Silverman regarding
sales and marketing strategy

Conference with Andy Graiser, Emilio Amendola
both of A&G Realty Partners, Jeff Hubbard of
Madison Hawk real estate and Kenneth P. Silverman
regarding sale of Oakdale campus, staiking horse
process, due diligence data room and preliminary
Brookhaven sale process thoughts and analysis

Conference with Kenneth P. Silverman regarding
sale process for Oakdale and Brookhaven properties

Prepare for and conduct conference with real estate
marketing brokers and Ronald J. Friedman regarding
sale and marketing strategy and case background

Conference with Ronald J. Friedman regarding
examining land use and lien issues concerning sales

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3

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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors invoice # 116887 Page 4
and marketing of real property

12/23/16 BWP Confer with Ronald J. Friedman regarding bar date 0.20 65.00
application

12/23/16 RJF Telephone call with Emilio Amendola of A&G Realty 0.20 117.00

Partners foilowing call with Warren and Adam and
Mayer Brown counsel for potential purchaser of
Oakdale

12/23/16  RJF Conference call with Emilio Amendola, Bob Koen of 0.40 234.00
Mayer Brown and clients of Mayer Brown, Adam
Dweck and Warren regarding stalking horse interest
in Oakdale property

12/27/16 RJF Prepare emails with buyer's link from Emilio 0.20 117.00
Amendola to send to Blumenfeld Development and
Enge! Burman, memo to Andy Graiser, Jeff Hubbard
and Emilio Amendola regarding same

01/06/17 GRL Review correspondence from Neil Bivona regarding 0.20 117.00
information related to proposed sale of residential
properties (.1); review summary of proposal (.1}

01/06/17 GRL Review correspondence from Neil Bivona regarding 0.20 117.00
saie of residences (.1); review correspondence from
Ronald J. Friedman regarding same (.1)

01/06/17 GRL Review correspondence from Sean Southard 0.20 117.00
regarding procedures from 2015 bonds (.1); review
correspondence from Ronald J. Friedman regarding
same (.1)

01/06/17 KPS Conference with Ronald J. Friedman regarding 0.30 208.50
review of bid procedures; potential contract of sale;
retention of zoning and land use professional

01/09/17 RJF Receive and review correspondence from Neil 0.10 58.50
Bivona regarding residential real property sales
01/09/17 GRL Review correspondence from Neil Bivona regarding 0.30 175.50

listing other residences for sale (.1); review
attachments with market analysis for each property

(.2)

01/13/17 GRL Conference with Kenneth P. Silverman regarding 0.20 117,00
preparation of report for creditors’ committee
0113/17 RJF Receive and review correspondence from Neil 0.10 58.50

Bivona regarding 3 residential real estate listings and
proposed price for same

0144317 GRL Review correspondence from Neil Bivona regarding 0.20 117.00
sales process; review correspondence from Ronald
J. Friedman and Rob Rosenfeld regarding same

01/13/17 KPS Conference with Ronald J. Friedman regarding sale 0.20 139.00
of residential units

O1N7N7 RJF Review correspondence re asset sales status from 0.30 175.50
066648

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01/23/17

01/23/17

01/23/17

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01/30/17

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

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Bob Rosenfeld

Review correspondence from Robert Rosenfeld
regarding sales update (.2); review correspondence
from Ronald J. Friedman regarding same (.1)

Conference with Ronald J. Friedman regarding Finai
DIP and negctiations regarding same

Receive and review correspondence from Robert
Rosenfeld regarding sale status from AG and
Madison Hawk

Review correspondence from Robert Rosenfeld
regarding sales update

Review correspondence from Robert Rosenfeld
regarding sales status report (.2); review
correspondence from Ronald J. Friedman regarding
same (.1)

Telephone call with prospective bidder; conference
with Brian Powers; prepare email

Subtotal Asset Sale

Case Administration

01/01/16

12/12/16

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Conference with Kenneth P. Silverman regarding
hearings on first day orders including; DIP financing;
bid procedures; compensation and retention
applications and related materials

Conference with Brian Powers and Kenneth P.
Silverman regarding creditor committee bylaws and
procedures

Conference with Kenneth P. Silverman and Gerard
R. Luckman regarding creditor committee bylaws
and procedures

Review correspondence from Renald J. Friedman
and Sean Southard regarding scheduling a
conference call with lenders

Review transcript of first day hearings
Review and revised committee bylaws

Review correspondence from Lauren Kiss regarding
contact list and conflict checklist (.1); review list (.2):
review correspondence from Ronald J. Friedman and
Sean Southard regarding call to discuss pending
matters (.2)

Review transcript of first day hearings

Conference with Gerard R. Luckman and Brian
Powers regarding creditor committee bylaws and
procedures

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Page 5
0.30 175.50
0.10 69.50
0.20 117.00
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13.30 $8,057.50
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0.30 97.50
0.20 117.00
0.80 468.00
0.30 175.50
0.50 292,50
1.00 625,00
0.30 208.50
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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12/12/16 BWP Draft correspondence to Committee members 0.20 60.00
regarding draft bylaws

12/13/16 RJF Office conference with Kenneth P. Silverman, Brian 1.20 702.00

Powers, and Gerard R. Luckman regarding revisions
to DIP Financing agreement, retention orders for real
estate brokers, sales procedures for Oakdale and
residential portfolio, and questions for Committee
members

12/13/16 GRL Conference with Kenneth P. Silverman, Ronald J. 1.20 702.00
Friedman and Brian Powers regarding DIP financing,
retention orders, questions for and from the
Committee

12/13/16 GRL Review correspondence from Lauren Kiss regarding 0.10 58.50
confidentiality agreement (.1)

12/13/16 KPS Conference with Gerard R. Luckman regarding 0.20 139.00
negotiation of first day orders with lenders and
brokers

12/13/16 KPS Office conference with Brian Powers, Gerard R. 1.20 834.00
Luckman, Ronald J. Friedman and Kenneth P.
Silverman regarding revisions to DIP financing
agreement, retention orders for real estate brokers,
sales procedures for Oakdale and residential
portfolio, and questions for committee members and
bylaws

12/13/16 KPS Conference with Brian Powers regarding revisions to 0.20 139.00
creditor committee bylaws; review emails from
committee members and confer with Brian Powers

12/13/16 BWP Draft Committee's omnibus statement with respect to 0.70 210.00
certain first day motions
12/13/16 BWP Office conference with Kenneth P. Silverman, Ronald 1.20 360.00

J. Friedman, and Gerard R. Luckman regarding
revisions to DIP Financing agreement, retention
orders for real estate brokers, sales procedures for
Oakdale and residential portfolio, and questions for
Committee members

12/13/16 BWP Review e-mail from Lori Zaikowski regarding 0.30 90.00
revisions to bylaws; draft correspondence to
Committee members regarding same

12/13/16 BWP Draft correspondence to Committee members 0.20 60.00
regarding updates with respect to discussions with
Debtor's and lenders’ counsel and scheduling
Committee meeting

12/4/16 GRL Telephone call to Sean Southard regarding Plan 0.30 175.50
Support Agreement, case issues
12/14/16 GRL Conference with Brian Powers and Ronald J. 0.30 175.50

Friedman regarding preparation for hearing
066648
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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

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Prepare for hearing on December 15 (.7); conference
with Ronald J. Friedman regarding same (.4); and
calls with brokers and Debtor's counsel regarding
motions (.6)

Review first day hearing transcript

Review filings and schedules of debt; confer with
Gerard R. Luckman

Conference with Gerard R. Luckman regarding
preparation for hearings on pending applications for
retention of brokers; bid procedure; compensation;
first day banking and premium financing and related
issues

Review file and prepare exhibits in connection with
hearings scheduled for 12/15

Draft correspondence to Committee members
regarding bylaws; review responses to same and

reply
Review and reply to e-mail from Lauren Kiss
regarding Committee's responses to first day motions

E File Committee's Statement Regarding Certain of
the Debtor's First Day Motions

Prepare for and participate in hearings on retention,
insurance premium financing, banking and related
applications

Prepare for and participate in post hearing
conference with creditors' committee on case
management, claims and sales marketing and
strategy issues

Returned call to Laine Armstrong as counsel to Marty
Schainholz regarding case status

Attend final hearings on first day motions

Conference with Kenneth P. Silverman regarding
case administration and conferences with
professionals

Review and finalize proposed orders following Court
hearings, prepare correspondence to Klestadt
Winters regarding same

Telephone call with Sean Southard and Lauren Kiss
counsel to Debtor regarding Madison Hawk and A&G
Realty order

Conference with Kenneth P. Silverman and Ronald
J. Friedman regarding case issues and assets

Review correspondence from Lauren Kiss regarding
form of interim compensation order (.1); review
correspondence from Richard McCord regarding

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No Charge
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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

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GRL

same (.1)

Review correspondence from Ronald J. Friedman
and Robert Rosenfeid regarding D&O policies,
financials and tax returns (5 emails)

Conference with Ronald J. Friedman regarding
hearings on first day orders including; DIP financing;
bid procedures; compensation and retention
applications and reiated materials

Conference with Gerard R. Luckman regarding
review of case documents turned over by chief
restructuring officer

Conference with Gerard R. Luckman regarding case
administration and conferences with professionals

Returned second call from Laine Armstrong
regarding her client, Marty Schoenhals, a former
Professor/Chair of Anthropology Department who
has a pending lawsuit against the Debtor for Breach
of Contract, wrongful termination, and age
discrimination who wishes to join the creditor's
committee

Confer with Ronald J. Friedman regarding Dowling
College creditor Marty Schoenhals request to join
creditor's committee, pending lawsuit, status of
claims bar date and hearings on 12/15/16

Review e-mail from Lauren Kiss regarding revised
interim compensation order; review revised order

Telephone call with Lauren Kiss regarding revisions
to orders

Draft correspondence to Committee regarding
confidentiality agreement between Committee and
the Debtor; review replies

Review multiple orders of the Court granting first day
motions

Review correspondence from Michael LoRusso
regarding confidentiality agreement

Review and reply to e-mails from Committee
members regarding confidentiality agreement;
telephone call with Mike LoRusso regarding same

Conference with Sean Southard, counsel to Debtor,
Neil Bivona and Bob Rosenfeld of RSR/CRO and
Kenneth P. Silverman and Gerard R. Luckman
regarding case status and go through 17 point
agenda of case background, sale process and claims

Conference with Debtor's counsel and CRO
regarding case issues, asset sales and retentions

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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

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RJF

Prepare for and confer with Sean Southerd, Robert
Rosenfeld and Ronald J. Friedman regarding case
management; sales and marketing and potential
claims

Conference with Lynne M. Manzolillo regarding
review of claims and related issues concerning
creditor contact

Review correspondence from Martin Schoenhals
regarding status of case, likelinood of repayment,
request for information regarding appointment of a
Trustee, etc.; draft memo to Ronald J. Friedman and
Kenneth P. Silverman regarding same in anticipation
of drafting response

Returned call to Martin Shcoenhals regarding his
inquiries with respect to case status, appointment of
Trustee, why he was not served nor was his counsel
with Committee Questionnaire or was not give
opportunity to serve on Committee

Review correspondence from Lauren Kiss regarding
stipulation extending time to file its statement
regarding stipulation

Review correspondence from Lauren Kiss regarding
bar date application and notice, review application
and notice

Review correspondence from Robert Rosenfeld
regarding real estate schedule

Conference with Kenneth P. Silverman regarding
case management issues; claims resolution process;
committee process

Correspondence with Lauren Kiss regarding
Signature approval of stipulation extending time
regarding bank account restricted funds disclosure

Review correspondence from Rich McCord regarding
Stipulation extending time and Bar date application

Review correspondence from Anthony C. Acampora
to lan Hummel! regarding review of documents
provided

Conference with Ronald J. Friedman regarding case
management issues; claims resolution process;
committee process

Review correspondence from Lori Zaikowski
regarding computer storage issues

Confer with Gerard R. Luckman regarding
negotiations with DIP lenders and structure of carve
out

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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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12/27/16 GRL Conference with Ronald J. Friedman regarding 0.20 117.00
discussions with Lenders regarding proceeds for the
estate

12/28/16 GRL Review correspondence from Sean Southard 0.20 117.00
regarding tenant security deposits and GOL; draft
reply

12/28/16 GRL Review correspondence from lan Hummel! regarding 0.10 58.50
comments to bar date order

12/28/16 BWP Review bar date motion, order, and notice (1.7); draft 1.90 570.00

correspondence to working group regarding same
(.2)
12/28/16 BYP Review e-mails from Sean Southard and Gerard R. 0.20 60.00

Luckman regarding deposits held from tenants of
real property

12/29/16 RJF Review retention materials 0.20 117.00

12/30/16 RJF Telephone call to Kenneth P. Silverman regarding 0.30 175.50
case status and treatment of DIP claim

12/30/16 KPS Telephone cail to Ronaid J. Friedman regarding case 0.30 208.50
status and treatment of DIP claim

01/03/17 RJF Telephone call from Dan Askanzi re Cherlene 0.10 58.50
Askenazi creditor of estate, holder of 2006 bonds

01/03/17 RJF Conference with Gerard R. Luckman regarding final 0.10 58.50
DIP order proposed

01/03/17. GRL Review correspondence from Kenneth P. Silverman 0.10 58.50
regarding estate carve out

01/04/17 3 GRL Prepare budget for estimated fees 0.20 117.00

01/04/17 BWP Review and reply to e-mail from Lauren Kiss 0.30 90.00

regarding confidentiality agreement between Debtor
and Committee; telephone call with Lauren Kiss
regarding same

01/05/17 BWP Conference with Kenneth P. Silverman regarding 0.20 65.00
preparation for status confrence and hearings on
retention applications and DIP financing order

01/05/17 = =GRL Review correspondence from Brian Powers to 0.10 58.50
Committee members regarding large case budget
01/05/17 KPS Conference with Brian Powers regarding preparation 0.20 139.00

for status conference and hearings on retention
applications and DIP financing order

01/05/17 KPS Conference with Gerard R. Luckman regarding 0.30 208.50
preparation for hearing on status and related issues
01/05/17 BWP Review e-mail from Lauren Kiss regarding revised 0.50 150.00

bar date application, order, and notice; review
proposed documents

01/05/17 Mc E File Committee's Limited Opposition to Entry of 0.10 15.00
066648

01/06/17

01/06/17

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01/06/17

01/09/17

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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

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BYP

RJF

BYP

BWP

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KPS

BYP

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RJF

RJF

KPS

LMM

BYP

Final Order Authorizing Debtor in Possession
Financing

Review correspondence from Lauren Kiss regarding
filing of the bar date application

Review correspondence from Brian Powers
regarding 341 meeting of creditors

Review correspondence from Sean Southard to
United States Trustee regarding sales procedures
(.1}; review correspondence from Sean Southard to
United States Trustee regarding proposed final DIP
order (.1)

Review file and prepare exhibits in connection with
hearings on 1/10

Conference with Kenneth P. Silverman regarding
Court hearing preparation

Review file and prepare exhibits in connection with
hearings scheduled for 1/10

Telephone call with Lauren Kiss regarding 1/10
hearings

Conference with Brian Powers regarding hearing
dates and work to be done

Review applications and prepare for hearing on
Omnibus retention applications; confer with lender's
counsel pre-hearing

Prepare for and attend status conference and
hearings concerning Omnibus retention applications
and DIP financing orders

Review Debtor's initial report of potentially restricted
accounts

Telephone call to Ronald J. Friedman regarding
preparation of memo for creditors’ committee

Revise memorandum to Creditors Committee
regarding status of proceedings

Review email correspondence from Joe Labuda
regarding update on case and prepare response
providing update

Conference with Gerard R. Luckman regarding
preparation of report for creditors’ committee

Returned call to Gretchen of Leaf Leasing regarding
status of lease rejection motion and proof of claim
bar date; perform research on Court's docket and
follow up conference with Ronald J. Friedman
regarding same

Draft memorandum to Committee regarding Jan. 10

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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Invoice # 116887 Page 12
hearing and section 341 meeting of creditors (1.2);
conference with Gerard R. Luckman regarding same
(3)

01/17/17 RJF Review notice and Cy Pres caselaw regarding 0.20 117.00
restricted access funds in bank accounts

01/17/17 RJF Conference call with Official Committee of 1.10 643.50
Unsecured Creditors regarding case status and
strategy

01/17/17 RJF Conference with Gerard R. Luckman and Brian 0.20 117.00
Powers following conference call with Committee to
address follow up items relating to bar date,
endowment funds and DIP financing budget

01/7/17 RJF Review email correspondence from Brian Powers 0.20 117.00
regarding bar date order
01/18/17 RJF Prepare memo to Kenneth P. Silverman, Gerard R. 0.20 117.00

Luckman, Brian Powers and Patricia M. Colgan
regarding Debtor's Initial Report on Potentially
Restricted Assets

01/18/17 GRL Review Debtor's statement regarding restricted funds 0.40 234.00
(.2); review Cypress doctrine (.2)
01/19/17 RIF Review Hilco Streambank engagement Jetter and 0.30 175.50

notes from meeting with Debtor counsel and CRO
regarding same

01/19/17 RJF Telephone call from Sam Logan, in house counsel of 0.20 117.00
Blackboard Inc, unsecured creditor regarding bar
date and case status

01/19/17 GRL Review correspondence from Brian Powers to Lori 0.50 292.50
Zaikowski regarding update on restricted funds (.1);
review correspondence from Lauren Kiss regarding
2004 applications for CIGNA and Health Plex (.1):
review applications (.2); review correspondence from
Brian Powers regarding his review (.1)

01/19/17 BWP Review Debtor's monthly operating report 0.40 130.00

01/20/17 BWP Conference with Ronald J. Friedman regarding 0.20 65.00
Board of Directors document request

01/20/17 RJF Conference call with Sean Southard, Bob Rosenfeld 1.00 585.00

and Gerard R. Luckman regarding case status,
Cigna Bankruptcy Rule 2004, Hilco Streambank
retention, DIP loan status and sale of Oakdale

property

01/20/17 RJF Conference with Brian Powers regarding Board of 0.20 117.00
Directors document request

01/20/17 RJF Review voluminous "super-restricted confidential” 0.50 292.50

materials pertaining to endowment funds
01/20/17 RJF Receive and review correspondence from Lori 0.10 58.50
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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Zaikowski re scholarship and flex spending accounts

01/20/17 GRL Conference call with Debtor's counsel regarding sale 1.00 585.00
of assets, case administration recovery of non debtor
property

01/20/17 GRL Review correspondence from Lauren Kiss regarding 0.20 117.00
restricted funds chart (.1); review chart (.1)

01/20/17 JFB Call to Gretchen at Leaf regarding status of case and 0.10 30.00
proof of claim process

01/20/17 BWP Teleconference with Sean Southard, Lauren Kiss, 1.00 325.00

Bob Rosenfeld, Gerard R. Luckman and Ronald J.
Friedman regarding sale process, case
administration, and recovery of non-debtor property

01/23/17 RJF Conference with Brian Powers regarding case status 0.20 117.00
and GCG web presence

01/23/17 KPS Conference with Stan Yang regarding status of case: 0.30 208.50
finance order; claims, bar date and related items

01/23/17 KPS Conference with Ronald J. Friedman regarding case 0.20 139.00
administration issues

01/24/17 GRL Review correspondence from Lori Zaikowski 0.20 117.00

regarding insurance issues (.1); review
correspondence from Brian Powers responding to
same (.1)

01/24/17 MC E File Application to Employ SilvermanAcampora 0.10 15.00
LLP as Counsel to the Official Committee of
Unsecured Creditors, together with Proposed Order;
Declaration of Ronald J. Friedman in Support of
Retention Application; and Affidavit of Linda Ardito in
Support of Retention Application

01/25/17 = JFB Letter to Harvey Singer in response to letter from US 0.20 60.00
Trustee regarding filing a claim

01/26/17 BWP Conference with Kenneth P. Silverman regarding 0.20 65.00
continuin dialogue with committee regarding case

01/26/17 KPS Conference with Brian Powers regarding continuing 0.20 139.00
dialogue with committee regarding case

01/26/17 BYP Draft correspondence to Lauren Kiss regarding 1/10 0.40 130.00
transcript and review response: review transcript

01/30/17 GRL Conference with Kenneth P. Silverman regarding 0.10 58.50

status of DIP financing order and meme to Ronald J.
Friedman regarding sales, due diligence and books
and records

01/30/17 KPS Conference with Gerard R. Luckman regarding DIP 0.30 208.50
finance order; lien challenge period; estate carve-out
from secured lenders; claims process; inspection of
property

01/31/17 RJF Telephone call from Mr. Yerushalmi re potential 0.20 117.00
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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interest as stalking horse, describe process and refer
to A&G Madison Hawk

01/31/17 BWP Review Debtor's response to motion of Patricia G.20 65.00
Karpowicz regarding return of lion statue and
turnover of funds

 

Subtotal Case Administration 70.10 $37 303.50
Claims Admin/Ob
12/23/16 RJF Confer with Brian Powers regarding bar date 0.20 117.00
application
12/28/16 BWP Conference with Gerard R. Luckman regarding bar 0.20 65.00
date motion and deviation from local guidelines
12/28/16 GRL Conference with Brian Powers regarding bar date 0.40 234.00

motion and deviation from local guidelines (.2);
review correspondence from Sean Southard
regarding same (.1); review correspondence from
Brian Powers to Sean Southard regarding form of
order (.1)

01/08/17 LMM PACER search to determine if Thomas Kelly Proof of 0.10 21.00
Claim received at our office was filed with Garden
City Group as of yet per memo from Ronald J.
Friedman; calendar follow up for two weeks

01/11/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
negotiating settlement of lender claims in plan
process

01/11/17 = KPS Conference with Anthony C. Acampora regarding 0.20 139.00
lien challenge period and review of multiple liens

01/13/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
sale of residential units

01/13/17 LMM Perform research on GCG website to verify Thomas 0.20 42.00

Keliy POC was filed with them and entered on claims
register; draft memo to Ronald J. Friedman verifiying
POC No. 29 has been assigned to this claim

01/17/17 GRL Review correspondence from Ronald J. Friedman 0.20 117.00
and Sean Southard regarding motion filed by family
of former athlete

O1/17/17 BWP Review order establishing bar date; draft 0.30 97.50
correspondence to Committee members regarding
same

01/18/17 GRL Review correspondence from Lori Zaikowski 0.10 58.50
regarding endorsed scholarships

01/2417 BWP Conference with Kenneth P. Silverman regarding 0.20 65.00

insurance, WARN Act, directors and officers and
refated claims

01/24/17 KPS Conference with Brian Powers regarding insurance, 0.20 139.00
066648

01/24/17

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

KPS

WARN Act, directors and officers and related claims
Prepare list for counsel conference

Subtotal Claims Admin/Ob

Creditors Meeting

12/12/16

12/12/16

12/12/16

12/12/16

12/12/16

12/12/16

12/13/16

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12/14/16

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12/14/16

KPS

GRL

GRL

BWP

GRL

GRL

BWP

GRL

BWP
KPS

KPS

KPS

Prepare for and conduct first creditor committee with
Gerard R. Luckman and Brian Powers; discuss case,
first day orders and bylaws

Conference with creditor's committee regarding case
issues, sale and financing

Review correspondence from Ronald J. Friedman to
Committee regarding items for the 4:00 meeting and
Committee's proposed positions on current motions
(.1}; review correspondence from Brian Powers to
the Committee regarding proposed by-laws (.1)

Attend meeting of Committee to discuss matters of
immediate importance in the Debtor's case

Committee meeting, conference call, participate in
half of agenda review due to scheduling conflict

Prepare agenda and send correspondence to
Committee members prior to commencement of
committee meeting

Conference with Kenneth P. Silverman regarding
revisions to creditor committee bylaws; review emails
from committee members and confer with Kenneth
P, Silverman

Review correspondence from Committee members
regarding comments to items discussed at
Committee meeting (.1); review correspondence
from Committee member comments to the by-laws
(.1); review correspondence from Brian Powers to
Committee members regarding update of progress
since meeting (.1); review correspondence from
Brian Powers to Committee regarding clarification of
by-laws (.1); review correspondence from Committee
member responding to update with expectations for
motions (.2)

Draft minutes of 12/12 Committee meeting

Review documents in connection with preparation for
meeting with creditors’ committee

Review agenda with Brian Powers and prepare for
creditor committee meeting

Prepare for and conduct conference with Gerard R.
Luckman, Brian Powers, Ronald J. Friedman and
members of creditors’ committee concerning

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Page 15
0.10 69.50
2.80 $1,398.50
2.80 1,946.00
2,80 1,638.00
0.20 117.00
2.80 840.00
1.50 877.50
0.20 117.00
0.20 65.00
0.60 351.00
0.90 270.00
0.20 139.00
0.20 139.00
1.80 1,251.00
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12/14/16

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Committee Unsecured Creditors

RJF

BWP

GRL

GRL

GRL

BYP

BWP

RJF

GRL

BYP
GRL

GRL

BWP

BWP

BWP

BYVP

GRL

GRL

preparation for case administration; objections to
pending motions; sales and marketing strategy and
related issues

Conference with Brian Powers and Gerard R.
Luckman regarding preparation for hearing

Conference with Gerard R. Luckman and Ronald J.
Friedman regading preparation for hearing

Conference with Committee regarding case issues
and December 15 hearing

Review correspondence from Brian Powers
regarding minutes of Committee meeting

Review correspondence from Lauren Kiss regarding
confidentiality agreement

Attend Committee meeting regarding matters
scheduled for hearing on 12/14

Draft correspondence to Committee members
regarding Committee meeting; telephone call from
Lori Zaikowski regarding same

Prepare correspondence to Sean Southard and Bob
Rosenfeld regarding meeting on December 21

Review correspondence from Brian Powers to
Committee members regarding confidentiality
agreement, members reply

Draft minutes for Committee meeting on 12/14

Conference with Brian Powers regarding call with the
Committee to discuss objection (.1); review
correspondence from Brian Powers to Commise
regarding same (.1}

Review correspondence from Lori Zaikowski
regarding objection to financing and call: draft reply

Draft correspondence to Committee members
regarding call to discuss DIP financing; review
responses from same; telephone call with Linda
Ardito regarding same

Conference call with Committee members regarding
final DIP financing order

Prepare for and attend section 341 meeting of
creditors

Conference with Gerard R. Luckman regarding
hearing dates and work to be done

Telephone call to Brian Powers regarding response
to Committee member and scheduling a call

Review correspondence from Lori Zaikowski
regarding 341 meeting (.1); conference with Brian

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540.00

90.00

58.50

58.50

150.00
117.00

58.50

90,00

90.00

630.00

97.50

58,50

234.00
066648
01/11/17 BWP
01/13/17 GRL
01/17/17 RJF
01/17/17 KPS
01/17/17 KPS
01/17/17 GRL
01/17/17 BWP
01/18/17 KPS
01/20/17 GRL
01/20/17 BVP
01/24/17 BWP
Financing
12/12/16 GRL
12/12/16 GRL
12/12/16 GRL
12/12/16 GRL

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

Powers regarding call with the Committee (.1);
review correspondence from Kenneth P. Silverman
and Ronald J. Friedman regarding preparing status
memo (.2)

Draft correspondence to Committee members
regarding scheduling Committee call: review
responses from same

Conference with Brian Powers regarding details for
memoranda to Committee

Prepare for Committee member conference call

Telephone call to Ronald J. Friedman regarding
preparation for creditor committee meeting

Telephone call to Ronald J. Friedman regarding
preparation for conference with creditor's committee

Conference call with Committee regarding last
hearing and work to be done (1.1); conference with
Brian Powers and Ronald J. Friedman regarding
same (.2)

Teleconference with Committee regarding Jan. 10
hearing and next steps in case (1.1); follow up
conference with Ronald J. Friedman and Gerard R.
Luckman regarding same (.2)

Conference with Gerard R. Luckman regarding
creditor's committee conference

Review correspondence from Lori Zaikowski
regarding accounts and scholarship funds

Review e-mails from Lori Zaikowski regarding
restricted funds

Review e-mail from Lori Zaikowski regarding
insurance coverage and draft reply (.2); confer with
Ronald J. Friedman regarding same (.2)

Subtotal Creditors Meeting

Conference with Brian Powers regarding comments
to DIP motion and objection

Conference call with Ronald J. Friedman, Sean
Southard, Lauren Kiss and Bob Rosenfeld regarding
DIP order, sales process

Conference call with DIP lenders regarding revisions
to order

Review correspondence from Lauren Kiss regarding
DIP orders and emergency order (.1); review orders
(.3); review correspondence from Sean Southard
regarding markup of revisions (.1)

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Page 17
0.20 65.00
0.30 175.50
0.20 117.00
0.20 139.00
0.20 139.00
1.30 760.50
1.30 422.50
0.20 139.00
0.10 58.50
0.20 65.00
0.40 130.00
28.00 $13,677.00
0.60 351.00
1.30 760.50
0.90 526.50
0.50 292.50
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12/12/16 BYP Conference with Gerard R. Luckman regarding 0.60 180.00
limited objection to DIP motion

12/12/16 BYP Conference call with Debtor's counsel and CRO 1.30 390.00
regarding DIP motion

12/12/16 BWP Teleconference with counsel to Debtor's secured 0.90 270.00
lenders

12/12/16 BWP Draft Committee's limited objection to DIP financing 2.70 810.00
motion

12/12/16 GRL Conference call with Sean Southard and Lauren Kiss 1.00 585.00

regarding DIP loan concerns and proposed revisions
per Gerard R. Luckman analysis

12/12/16 GRL Conference call with counsel to Debtor, and counsel 1.00 585.00
to DIP lenders, Oppenheimer

12/13/16 GRL Conference call with Lenders and Debtor's counsel 0.60 351.00
regarding comments to DIP order

12/13/16 GRL Review correspondence from Sean Southard 0.40 234.00

regarding proposed language for DIP order (.1):
review correspondence from Brian Pfeiffer regarding
same (.1); review correspondence from Brian Pfeifer
regarding revised order (.1); review correspondence
from Joseph Furst regarding revising DIP note (.1)

12/13/16 BWP Teleconference with counsel! to the Debtor and 0.50 150.00
counsel to the Lenders regarding DIP order

12/13/16 BWP Telephone call with Lauren Kiss regarding revisions 6.10 30.00
to DIP financing order

12/14/16 GRL Conference with Brian Powers regarding DIP 0.20 117.00
revisions

12/1416  GRL Telephone call from Joe Corneau regarding DIP 0.20 117.00
order

12/14/16 GRL Review and revised DIP order 1.60 936.00

12/14/16  GRL Telephone call from Joseph Corneau regarding 0.40 234.00

revisions (.1). review correspondence from Joseph
Corneau transmitting DIP Note and Order with
amendments (.3)

12/14/16 GRL Conference call with Working Group of Lenders 0.50 292.50
regarding DIP financing

12/14/16 GRL Review correspondence from Thomas McNamara 0.40 234.00
regarding collateral package and index

12/1416 GRL Review correspondence from Lori Zaikowski 0.20 117.00

comments to DIP order (.1); review correspondence
from Brian Powers regarding same (.1)

12/14/16 GRL Review correspondence from (13 emails) lan 0.90 526.50
Hammond, Joseph Corneau, Sean Southard and
Brian Pfeiffer regarding call to discuss revisions and
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Committee Unsecured Creditors

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transmitting revisions to DIP order (.7); draft
replies(.2)

Review correspondence from Sean Southard
regarding revised DIP budget

Review revisions to DIP financing order and first
amendment to DIP financing agreement

Teleconference with counsel to the DIP lenders and
the Debtor regarding revisions to the DIP financing
order and agreement

Review multiple e-mails from counsel to the DIP
lenders and counsei to the Debtor regarding
revisions to the DIP financing documents

Prepare for and attend hearing on various motions,
DIP financing

Review correspondence from Sean Southard
regarding revised DIP order (.1); review revised
order (.3)

Review correspondence from Brian Pfeifer regarding
call to discuss revisions; review correspondence
from Sean Southard and Christine Black regarding
same; draft reply

Conference with Kenneth P. Silverman regarding
review of case documents turned over by chief
restructuring officer

Conference with Gerard R. Luckman regarding
revised DIP order

Review and revised DIP order

Telephone call from Sean Southard regarding DIP
order

Telephone call from Christine Black regarding form
of order

Conference with Brian Powers regarding revised DIP
order

Telephone call from Brian Pfeifer regarding DIP
order

Conference call with working group of lenders,
debtors regarding DIP order

Telephone call from Sean Southard regarding
entering orders

Review correspondence from Richard McCord
regarding challenge period under DIP order

Review correspondence from Sean Southard
regarding form of DIP order (.1); review
correspondence from Sean Southard regarding call

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Page 19

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117.00

65.00

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175.50

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409.50
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with the Lenders (.1); review correspondence from
Sean Southard regarding Conditional Funding
Agreement (.1); review agreement (.4)

12/16/16 GRL Review correspondence from Brian Powers 0.30 175.50
regarding comments to the DIP order (.1); review
correspondence from Joseph Corneau regarding
resoiution of issues (.1); review correspondence from
Richard McCord regarding challenge deadline (.1)

12/6/16  GRL Review correspondence from Brian Pfeiffer regarding 0.30 175.50
revised interim DIP order

12/16/16 BYP Review revisions to DIP order; draft correspondence 0.40 120.00
to working group regarding same

12/16/16 BWP Teleconference with working group regarding 0.80 240.00
revisions to interim DIP order

12/19/16  GRL Conference with Kenneth P. Silverman regarding 0.20 117.00
revised DIP financing order and related issues

12/19/16  RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
potential stalking horse contract vendee

12/19/16 GRL Review correspondence from Sean Southard 0.50 292.50

regarding form of order (.1); review correspondence
from Sean Southard and Jan Hansel regarding same
(.2); review correspondence from Rich McCord and
Brian Pfeifer regarding adjournment and reply (.2)

12/19/16 GRL Review and revised DIP order 0.20 117.00

12/19/16 KPS Conference with Gerard R. Luckman regarding 0.20 139.00
revised DIP financing order and related issues

12/20/16 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
sale and bid procedures

12/20/16 KPS Telephone call from Burt Weston regarding DIP 0.20 139.00
financing order

12/20/16 GRL Review correspondence from Richard McCord 0.20 117.00
regarding challenge period; draft reply

12/21/16 GRL Review correspondence from Rich McCord regarding 0.10 58.50
challenge period and documents provided

12/22/16 GRL Telephone call from Sean Southard regarding DIP 0.70 409.50

order (.2); conference call with Lenders and Sean
Southard regarding DIP orders and agreements (.5)

12/22/16 GRL Review correspondence from Sean Southard (7 0.50 292.50
emails ) regarding DIP order and issues (.3);
telephone call from Sean Southard regarding same
(.1); review correspondence from Lauren Kiss
regarding revised order (.1)

12/22/16 GRL Review correspondence from lan Hammel regarding 0.10 58.50
documents provided to support claim
066648
01/03/17

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Committee Unsecured Creditors

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GRL

Telephone call from Brian Pfeiffer regarding carve
out for creditors (.6); conference with Ronald J.
Friedman regarding same (.1)

Telephone call from Ronald J. Friedman regarding
DIP order and objections

Review and revised DIP order (.6); telephone call
from Sean Southard regarding same (.2)

Review correspondence from lan Hammel regarding
revisions to the order and draft schedule of revisions
(.2); review correspondence from Sean Southard
regarding approval of form of order (.1); draft reply

(1)

Telephone cail with Brian Pfeiffer and Gerard R.
Luckman regarding final DIP order and carve-out

Conference with Brian Powers regarding limited
objection to entry of final DIP financing order

Conference with Brian Powers regarding limited
objection to DIP financing (.4); review and revised
objection (.3); conference with Brian Powers
regarding same(.3); final review of objection (.1)

Conference call with Committee regarding objection
(.3); telephone call to Ronald J. Friedman regarding
same (.1)

Review correspondence from Sean Southard, lan
Hammel and Brian Pfeiffer regarding objection to
financing (5 emails) (.2)

Conference with Gerard R. Luckman regarding
limited objection to entry of final DIP financing order

Draft Committee's limited objection to entry of final
DIP financing order

Conference with Gerard R. Luckman regarding
revisions to fimited objection to entry of final DIP
financing order (.3); revise limited objection pursuant
to comments of same (.8)

Conference with Kenneth P. Silverman regarding
preparation for hearing on status and related issues

Conference with Brian Powers regarding issue with
DIP financing

Conference call with DIP Lenders and Debtor's
counsel regarding comments to DIP order; 506(c)
issues and Committees concerns (1.0); telephone
call to Sean Southard regarding same (.1)

Telephone call from Sean Southard and Joe
Corneau regarding DIP order

Telephone call from Brian Pfeiffer regarding DIP

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1.10

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0.20

Page

21
409.50

117.00

468.00

234.00

180.00

234.00

643.50

234.00

1,170.00

120.00

480.00

330.00

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117.00
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order

01/05/17, =GRL Conference with Kenneth P. Silverman regarding 0.70 409.50
DIP financing, sale issues and set aside for creditors

01/05/17 GRL Review DIP order (.2); review correspondence from 0.40 234.00

Joseph Corneau regarding same (.1}; review
correspondence from Brian PFeifer regarding same
(1)

01/05/17 GRL Review correspondence from Sean Southard 1.00 585.00
regarding revised order, milestones, term sheet from
lan Hammel, Joe Corneau, Sean Southard, Brian
Pfeiffer (7 emails with attachments) (.5); review
correspondence from Brian Pfeiffer, Joe Corneau
and Sean Southard regarding term sheet (.3): draft
correspondence to Brian Pfeiffer regarding remaining
plan provisions (.1); review correspondence from
Brian Pfeiffer regarding same (.1)

01/05/17 KPS Conference with Gerard R. Luckman regarding 0.70 486.50
revisions to DIP financing order

01/05/17 BWP Conference with Gerard R. Luckman regarding final 0.10 30.00
DIP order and objection

01/05/17 BWP Conference call with working group regarding final 1.10 330.00

DIP order (1.0); follow-up cali with Sean Southard
and Lauren Kiss regarding same (.1)

01/05/17 BYP Revise limited objection to final DIP order pursuant to 0.70 210.00
comments of Gerard R. Luckman and Kenneth P.
Silverman (.3)}; ensure proper filing and service of
same (.4)

01/06/17 GRL Review correspondence from Sean Southard 0,90 526.50
regarding revisions to term sheet; review
correspondence from Joe Corneau, Jan Hammel and
Brian Pfeiffer regarding same (11 emails) (.7); draft

reply (.2)

01/06/17 GRL Telephone call from lan Hammond regarding DIP 0.30 175,50
order; interest charges

01/06/17 GRL Review correspondence from Joseph Corneau 0.20 117.00

regarding revised milestones and comments (.1):
review milestones (.1)

01/09/17 RJF Conference with Gerard R. Luckman regarding 0.20 117.00
Debtor representations and terms of proposed DIP
order

01/09/17 RJF Conference call with Debtor's counsel, counsel to 0.50 292.50

lenders and Gerard R. Luckman regarding status of
DIP order and presentation to Court

01/09/17 GRL Review correspondence from Sean Southard 0.80 468.00
regarding emailing budget to Chambers and sign off
on budget (.1}; review correspondence from Sean
066648

01/09/17

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01/09/17

01/10/17

01/10/17

01/11/17

01/11/17

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

GRL

GRL

GRL

GRL

KPS

KPS

KPS

KPS

KPS

BYP

GRL

GRL

GRL

ACA

Southard regarding Court expecting tive testing in
support of the order (.1}; draft reply (.1); review
correspondence from Ronald J. Friedman regarding
response to Debtor (.1}; review correspondence from
Sean Southard, lan Hammel and Brian Pfeiffer
regarding addressing Court's concerns (.3); review
correspondence from Ronald J. Friedman regarding
same and Sean Southard's reply (.1}

Telephone call from Sean Southard regarding DIP
order, hearing and case issues

Conference with Kenneth P. Silverman and Brian
Powers regarding DIP order January 10, 2017
hearing

Telephone call to Sean Southard regarding DIP
hearing (.2); review correspondence from Sean
Southard regarding same (.1); draft correspondence
to Lenders regarding call to discuss DIP financing
(.1)

Conference with Ronald J. Friedman regarding call
with the Lenders (.2): call with Lender regarding DIP
hearing (.5)

Conference with Stan Young regarding status of
case and DIP financing order

Telephone call to Ronald J. Friedman regarding
status of DIP financing order

Prepare for and conduct conference with Gerard R.
Luckman and Brian Powers regarding objections to
Debtor's proposed DIP financing order

Review numerous emails concerning DIP financing
order; memo to Gerard R. Luckman and Ronald J.
Friedman

Conference with Gerard R. Luckman regarding
preparation for hearing on retention orders and
status and discuss revisions to plan of reorganization

Conference with Kenneth P. Silverman and Gerard
R. Luckman regarding DIP financing

Conference with Kenneth P. Silverman regarding
DIP financing; case management and sales

Prepare for and attend hearing on retentions and DIP
financing with related conferences with Lenders and
Debtors counsel regarding same

Conference with Kenneth P. Silverman regarding
budget and cash collateral issues

Conference with Kenneth P. Silverman regarding lien
challenge period and review of multiple liens

Invoice # 116887

0.30

0.70

0.40

0.70

0.20

0.20

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0.70

0.50

4.40

0.20

0.20

Page

23

175.50

409.50

234.00

409.50

139.00

139.00

486.50

139.00

139.00

210.00

292.50

2,574.00

117.00

125.00
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors

01/11/17 GRL

01/11/17 KPS

01/11/17 KPS

01/18/17 KPS

01/20/17 RJF

01/20/17 GRL

01/20/17 GRL

01/23/17 BWP

01/23/17 RJF

01/30/17 GRL

01/30/17 KPS

Litigation
12/15/16 KPS

01/11/17 BWP

OWI7/17 8 RJF

O1/17/17 KPS
01/18/17 8 RJF

01/18/17 GRL

01/18/17 KPS

01/18/17 BWP

Review revised budget (.1); draft correspondence to
Joseph Corneau regarding same (.1)

Conference with Gerard R. Luckman regarding DIP
financing; case management and sales

Conference with Gerard R. Luckman regarding
budget and cash collateral issues

Conference with Ronald J. Friedman regarding
continuing negotiations with secured lenders

Conference with Gerard R. Luckman regarding call
with Lenders

Conference with Ronald J. Friedman regarding call
with Lenders

Telephone call from Brian Pfeiffer regarding carve
out for the estate

Conference with Ronald J. Friedman regarding case
status and GCG web presence

Conference with Kenneth P. Silverman regarding
Final DIP and negotiations regarding same

Conference with Kenneth P. Silverman regarding
proposal for the lenders to fund estate

Conference with Gerard R. Luckman regarding

status of DIP financing order and memo to Ronald J.

Friedman regarding sales, due diligence and books
and records

Subtotal Financing

Conference with Anthony C. Acampora regarding
continuing review of security lien and collateral
documentation for bond holders

Draft Rule 2004 application for member of the board

Review motion of Patricia Karpowizc regarding
Lacrosse scholarship and lion statue

Review memo on status conference

Conference with Kenneth P. Silverman regarding
continuing negotiations with secured lenders

Conference with Kenneth P. Silverman regarding
creditor's committee conference

Conference with Anthony C. Acampora regarding
review of director's and officers insurance and
potential claims against board of directors

Continue drafting Rule 2004 application for board
member

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Page 24
0.20 117.00
0.50 347.50
0.20 139.00
0.20 139.00
0.10 58.50
0.10 58.50
0.30 175,50
0.20 65.00
0.10 58.50
0.30 175.50
0.10 69.50
64.30 $33,384.00
0.50 347.50
1.80 585.00
0.20 117.00
0.10 69.50
0.20 117.00
0.20 117.00
0.20 139.00
0.50 162.50
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Invoice # 116887

01/19/17 BWP Review Debior's draft Rule 2004 motion, proposed
orders, and subpoenas for Cigna and Healthplex

01/20/17 BWP Review multiple e-mails from Marty Schoenhals
regarding potential claims against board

01/24/17 RJF Conference with Joe Capobianco counsel to Gerald
Curtin Board Member regarding status of sale and
marketing

01/2417 ACA Review and analyze Dowling financial statements for
potential claims against accountants and board

01/24/17 KPS Telephone call to Anthony C. Acampora regarding

review of bond security agreement and discuss
related financing and directors’ and officers liability

01/2517 ACA Conference with Kenneth P. Silverman regarding
potential sources of recoveries

01/25/17 ACA Anlayze KPMG financial statements for Dowling
01/2617 ACA Analyze Dowling financial statements
01/27/17 ACA Review and analyze financial statements in

connection with potential claims against accountant
and board members

01/3017 ACA Continue financial statement analysis
Subtotal Litigation

Plan/Disclose

12/14/16 GRL Review plan support agreement (.8); review
correspondence from Sean Southard regarding
same (.1); draft correspondence to responding to
same (.1): telephone call from Sean Southard
regarding plan support agreement (.2)

01/05/17 GRL Telephone call to Sean Southard regarding plan term
sheet

Subtotal Plan/Disclose

Ret Orders

12/12/16 JFB Review US Trustee guidelines for fee applications
and retention applications for large cases and revise
application, declaration and draft affidavit for
Committee chair to comply with guidelines

12/12/16 JFB Draft order, application and declaration in support of
SilvermanAcampora retention

12/12/16 JFB Confer with Brian Powers to review all retention
papers; compliance with US Trustee guidelines and
prepare for signature by Commitee chair

12/12/16 JFB Meet with Committee regarding retention application
12/2/16 BWP Confer with Janet F. Brunell regarding retention

 

 

Page 25
0.60 195.00
0.40 130.00
0.20 117.00
1.30 812.50
0.40 278.00
0.20 125.00
2.60 1,625.00
2.10 1,312.50
1.00 625.00
0.60 375.00
13.10 $7,249.50
1.20 702.00
0.30 175.50
1.50 $877.50
2.80 840.00
1.70 510.00
0.40 120.00
0.30 90.00
0.40 120.00
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Invoice # 116887 Page 26

papers and compliance with U.S. Trustee guidelines
for large cases

12/13/16 RJF Telephone call with Sean Southard counsel to 0.50 292.50
Debtor regarding Real estate broker retention
applications

12/13/16 RJF Review and analyze motion for A&G Realty and 0.70 409.50

Madison Hawk retention; prepare comments and
proposed revisions for conference call with A.
Graser, Sean Southard and J. Hubbard

12/13/16 RJE Conference call with Sean Southard, A. Graser, Rab 1.20 702.00
Rosenfeld and J. Hubbard regarding Madison Hawk
and A&G retention and disclosure items

12/14/16 GRL Review correspondence from Ronald J. Friedman, 0.20 117.00
Sean Southard and brokers regarding revisions to
retention agreement

12/15/16 GRL Review correspondence from Lauren Kiss regarding 0.20 117.00
revised retention orders for real estate brokers

12/16/16 GRL Review correspondence from Ronaid J. Friedman 0.10 58.50
regarding review of brokers retention orders

12/16/16 GRL Review correspondence from Ronald J. Friedman 0.10 58.50

regarding incorporating transcript into broker
retention order

12/19/16 GRL Review correspondence from Lauren Kiss regarding 0.60 351.00
retention applications to be filed (.1); review draft
applications and retention agreements (.4); draft
correspondence to Lauren Kiss regarding same (.1)

12/20/16 GRL Conference with Brian Powers regarding Debtor's 0.30 175.50
proposed retentions
12/20/16 BYP Review e-mail from Lauren Kiss regarding additional 1.30 390.00

retention applications (.1); review draft retention
motions and retention agreements (.9); conference
with Gerard R. Luckman regarding Debtor's
proposed retentions (.3)}

12/22/16 GRL Review correspondence from Ronald J. Friedman to 0.10 58.50
Sean Southard regarding FPM retention

12/23/16 KPS Conference with Brian A. Serotta regarding potential 0.50 347.50
retention as accountant to committee

12/28/16 GRL Review supplemental declaration filed by Sean 0.20 117.00

Southard in support of retention (.1}; review
correspondence from Ronald J. Friedman regarding

same (.1)

12/30/16 GRL Review correspondence from Kenneth P. Silverman 0.20 117.00
regarding status of retentions; draft reply

01/04/17 GRL Conference with Brian Powers regarding large case 0.20 117.00

protocol and budgeting
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Inveice # 116887 Page 2/7

01/04/17 GRL Conference with Brian Powers regarding revisions to 0.30 175.50
limited objection to entry of final DIP financing order

01/04/17 GRL Conference with Brian Powers regarding retention 0.50 292.50

protocol for large cases and budget (.2); review and
revised declaration in support of retention (.2);
conference with Brian Powers regarding same (.1)

01/04/17 GRL Draft correspondence to Brian Powers regarding 0.20 117.00
retention application (.1); review correspondence
from Brian Powers regarding same (.1)

01/04/17 BWP Conference with Gerard R. Luckman regarding large 0.20 60.00
case protocol and budgeting
01/04/17 BWP Revise SilvermanAcampora retention application in 1.30 390,00

connection with "Large Case" protocol promulgated
by United States Trustee

01/04/17 BWP Prepare budget and staffing plan in connection with 1.60 480.00
"Large Case" protocol promulgated by United States
Trustee

01/05/17 GRL Conference with Brian Powers regarding budget for 0.20 117.00
retention: revised declaration

01/05/17 KPS Review motions for the retention of Eicher & 0.30 208.50

Dimeglio as accountants and FPM Group as zoning
and land use professionals and confer with Gerard

R. Luckman

01/05/17 BWP Conference with Gerard R. Luckman regarding 0.20 60.00
budget for SilvermanAcampora

01/05/17 BWP Draft correspondence to Committee members 0.30 90.00
regarding budget proposal; review responses from
same

01/06/17 BWP Draft correspondence to Stan Yang regarding 0.20 60.00
retention application

01/11/17 GRL Review correspondence from Brian Powers to Stan 0.10 58.50
Yang regarding retention

01/11/17 BWP Draft correspondence to Stan Yang regarding 0.10 32.50
SilvermanAcampora retention application

01/18/17 BWP Conference with Gerard R. Luckman regarding 0.10 32.50
retention declaration

01/18/17 GRL Review correspondence from Lauren Kiss regarding 0.50 292.50

Hilco retention (.1); review retention agreement (.2);
Draft correspondence to Ronald J. Friedman
regarding retention and issues regarding assets sold
(.1); review correspondence from Ronald J.
Friedman to Sean Southard regarding same (.1}

01/18/17, =GRL Conference with Brian Powers regarding retention 0.20 117.00
declaration (.1); telephone call to Stan Yang
regarding same {.1)
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors

01/18/17 GRL

01/18/17 BWP

01/19/17 GRL

01/23/17 GRL

01/23/17 RJF

01/23/17 GRL

01/23/17 KPS

01/24/17 BYP

01/31/17 GRL

Telephone call from Lauren Kiss regarding FPM
retention agreement (.1); review revised form of
order (.1); draft correspondence to Lauren Kiss
regarding same (.1)

Review e-mail from Stan Yang regarding retention
application (.1); conference with Gerard R. Luckman
regarding same (.2); telephone call with Stan Yang
regarding same (.2): revise retention application
pursuant to comments of Stan Yang (.5); draft
correspondence to Stan Yang regarding same (.1)}

Review correspondence from Ronald J. Friedman
and Sean Southard regarding Hilco retention

Conference with Kenneth P. Silverman regarding
retention of SilvermanAcampora LLP as counsel to
creditor's committee

Conference with Kenneth P. Silverman regarding
case administration issues

Telephone cail from Kenneth P. Silverman regarding
retention application

Conference with Gerard R. Luckman regarding
retention of SilvermanAcampora LLP as counsel to
creditor's committee

Review e-mail from Stan Yang regarding
SilvermanAcampora retention application; ensure
proper filing cf same

Review correspondence from Lauren Kiss regarding
Hilco retention

Subtotal Ret Orders

Name

Acampora, Anthony C.
Brunell, Janet F.
Cohen, Melissa
Cohen, Melissa
Colgan, Patricia M.
Friedman, Jack B.
Friedman, Ronald J
Luckman, Gerard R
Manzolillo, Lynne M

For professional services rendered

Atty/Para Summary

 

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Page 28
0.30 175.50
1.10 357.50
0.20 117.00
0.20 117.00
0.20 117.00
0.10 58.50
0.20 139.00
0.40 130.00
0.20 117.00
21.20 $9,020.50
254.50 $135,715.00
Rate Amount
625.00 $30,000.00
300.00 $1,650.00
140.00 $14.00
150.00 $30.00
425.00 $127.50
495.00 $247.50
585.00 $14,157.00
585.00 $47,268.00
210.00 $252.00
Case o-Lo0-/a040-reg VOC 200-4

066648 Committee Unsecured Creditors

Powers, Brian W.
Powers, Brian W.
Silverman, Kenneth P

Disbursements
12/31/2016

12/31/2016

001

Balance due

Pacer charges
Pacer charges

Pacer charges

254.50

Disbursement Summary

Invoice # 116887

43.50
15.00
35.20

300.00
325.00
695.00

TOTAL

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Page 29
$12,630.00

$4,875.00
$24,464.00
$135,715.00

42.00
12.50

$24.50

$24.50

$24.50

$135,739.50

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SILVERMAN
oS ACAMPORA

Character iy Everything” LLP
Attorneys
10 Jericho: Quadrangle. Suite 3C0, Juncho, New York 11753
S1d.4 70.6500
gow Silverman Acinpeard.coa

Invoice submitted to: Fed ID # XX-XXXXXXX

Official Committe of Unsecured Creditors

Invoice Date: March 20, 2017

066648 = 1 Client # 066648 Official Committee of Unsecured Creditors
Matter # 1 Dowling College

Invoice # 117529
Professional services

 

Hours Amount
Asset Analysis

02/01/17 ACA Conference with Kenneth P. Silverman regarding 0.20 125.00
analysis of secured party liens

02/09/17 KPS Review notes on potential claims and review of due 0.20 139.00
diligence materials .

02/10/17 KPS Review Debtor's application for order approving and 0.50 347.50
authorizing implementation of procedures for
disposition of personal property commonly referred
to as " NEP” or restricted assets; prepare memo to
Brian Powers concerning revisions to proposed
motion and communication with creditor's committee

02/14/17 ACA Draft Bankruptcy Rule 2004 order and application for 0.40 250.00
KPMG

02/15/17 ACA Conference with Kenneth P. Silverman regarding 0.20 125.00
continuing review of secured creditor jiens

02/15/17 ACA Revise Rule 2004 order and application against 0.30 187.50
KPMG

02/16/17 ACA Conference with Kenneth P. Silverman regarding 0.20 125.00
breach of fiduciary duty and waste and
mismanagement strategies; discuss interview and
examination

02/16/17 KPS Conference with Anthony C. Acampora regarding 0.20 139.00

breach of fiduciary duty and waste and
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Invoice # 117529

mismanagement strategies; discuss interview and
examination of board of trustee's

02/21/17 ACA Conference with Kenneth P. Silverman regarding
motion to compel BR 2004 production of documents
and information from KPMG

02/21/17 ACA Revise 2004 order and application

02/22/17 ACA Conference with Kenneth P. Silverman regarding
review of potential recovery theories against board of
trustee for breach of fiduciary duty, waste and
mismanagement

02/22/17 KPS Conference with Anthony C. Acampora regarding
review of potential recovery theories against board of
trustee for breach of fiduciary duty, waste and
mismanagement

02/24/17 ACA Conference with Kenneth P. Silverman regarding
continuing review of secured parties security
agreements and UCC financing statements and
discuss potential discovery strategies

Subtotal Asset Analysis
Asset Sale

02/02/17 RJF Conference with Kenneth P. Silverman regarding
status of sales and marketing

02/02/17 KPS Conference with Ronald J. Friedman regarding
status of sales and marketing

02/04/17 RJF Review Oakdale campus sale status update from
Bob Rosenfeld

02/10/17 RJF Review correspondence from Neil Bivona regarding
the Broker Comparative Market Analyses for 27
Chateau Drive and related documents regarding
potential ssle of that property

02/10/17 RJF Review correspondence from Bob Rosenfeld
regarding weekly Oakdale sale status report

02/13/17 GRL Review correspondence from Robert Rosenfeld
regarding sales report

02/15/17 GRL Review correspondence from Neil Bivona regarding
residential property listing

02/21/17 KPS Conference with Brian Powers regarding sale of

Connecticut Drive and related sale issues

02/21/17 BWP Conference with Kenneth P. Silverman regarding
sale of Connecticut Drive and related sale issues

02/22/17 RJF Review Brookhaven project drawing materials, FPM
retention work product and related correspondence
from Robert Rosenfeld

 

Page 2
0.20 125.00
0.40 250.00
0.30 187.50
0.30 208.50
0.20 125.00
3.60 $2,334.00
0.20 117.00
0.20 139.00
0.20 117.00
0.20 117.00
0.20 117.00
0.20 117.00
0.10 58.50
0.10 69.50
0.10 32.50
0.60 351.00
066648
02/23/17

02/23/17

02/23/17

02/27/17

02/27/17
02/28/17

02/28/17

02/28/17

02/28/17

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

RJF

RJF

KPS

RJF

BWP
RJF

RJF

RJF

KPS

Conference with Kenneth P. Silverman regarding
arranging for site inspection of campuses; discuss
status of broker marketing and related issues; review
proposed site plan

Confer with Ken Silverman regarding DIP tender
proposal, Oakdale campus sale status and
Brookhaven planning status

Conference with Ronald J. Friedman regarding
arranging for site inspection of campuses; discuss
status of broker marketing and related issues; review
proposed site plan

Review HILCO motion proposed by Debtor's counsel
for sale of IP addresses

Review Debtor's draft motion to sell IP addresses

Conference with Kenneth P. Silverman regarding
sale of real property

Conference call with Ron Parr, Rob Rosenfeld, FPM
and other professionasls regarding Brookhaven site
planning and sale protocol and process

Confer with K Silverman regarding Brookhaven
planning status and dialog with parties regarding sale

Conference with Ronald J. Friedman regarding sale
of real property

Subtotal Asset Sale

Case Administration

02/01/17

02/01/17

02/01/17

02/01/17

02/02/17

02/02/17

RJF

RJF

RJF

GRL

GRL

GRL

Receive and review correspondence from Debtor's
counsel regarding status of case and matters for
upcoming hearing on Feb 6

Preparation for upcoming hearing regarding Rule
2004 and DIP lender status of discussions, Lori
Karpowicz stipulation

Confer with Gerard Luckman and Brian Powers
regarding status and preparation for upcoming
hearing

Review correspondence from Sean Southard
regarding case status (.1); review correspondence
from Ronald J. Friedman to Rob Rosenfeld regarding
same (.1)

Conference with Kenneth P. Silverman regarding
preparation for status conference and continuing
negotiations with secured parties and date for final
DIP order

Review correspondence from Ronald J. Friedman
regarding open matters on the calendar (.1); review

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Page 3
0.30 175.50
0.20 117,00
0.30 208.50
0.30 175.50
1.20 390.00
0.20 117.00
1.00 585.00
0,20 117.00
0.20 139.00
6.00 $3,260.00
0.20 117.00
0.50 292.50
0.20 117.00
0.20 117,00
0.30 175.50
0.20 117.00
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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correspondence from Brian Powers regarding same
(.1)

02/02/17 KPS Telephone call from Burt Weston and Adam 0.50 347.50

Berkowitz regarding status, lien challenge deadline
and DIP order

02/02/17 KPS Conference with Gerard R. Luckman regarding 0.30 208.50
preparation for status conference and continuing
negotiations with secured parties and date for final

DIP order

02/02/17 BWP Review file and prepare documents for hearings 0.80 260.00
scheduled for 2/6

02/03/17 RJF Conference call on Dowling with Sean Southard Neil 1.30 760.50

Bivona, Bob Rosenfeld, Lauren Kiss and Jerry
Luckman and preparation for upcoming hearing

02/03/17 RJF Telephone cail with Kenneth P. Silverman regarding 0.20 117.00
status conference and lien challenge

02/03/17 GRL Conference with Kenneth P. Silverman regarding 0.20 117.00
preparation for conference call with debtor's counsel

02/03/17 GRL Conference call with Debtor's counsel, CRO & 0.80 468.00
Ronald J. Friedman regarding matters on for Monday
2/6

02/03/17 KPS Conference with Ronald J. Friedman regarding 0.20 139.00

preparation for attendance at status conference and
secured lenders offer

02/03/17 KPS Conference with Gerard R. Luckman regarding 0.20 139.00
preparation for conference call with debtor's counsel

02/03/17 KPS Telephone call to Ronald J. Friedman regarding 0.20 139.00
status conference and lien challenge

02/04/17 RJF Review Karpowicz stipulation and advise Debtor of 0.20 117.00
comment to bring to closure

02/06/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
status conference

02/06/17 RJF Review debtor's proposed motion for non-estate 0.30 175.50

property disposition and correspondence from Sean
Southard regarding same

02/06/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
preparation for status conference; discuss status of
sales process and board of directors

02/0617 ACA Conference with Kenneth P. Silverman regarding 0.20 125.00
extension of challenge period for liens of secured
parties

02/06/17 KPS Conference with Anthony C. Acampora regarding 0.20 139.00

extension of challenge period for liens of secured
parties
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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02/06/17 KPS Review restricted versus unrestricted accounts and 6.20 139.00
Cy Pres doctrine

02/06/17 KPS Conference with Ronald J. Friedman regarding 0.20 139.00

preparation for status conference: discuss status of
sales process and board of directors

02/06/17 KPS Telephone call to Ronald J. Friedman regarding 0.20 139,00
status conference

02/10/17 GRL Review correspondence from Sean Southard, 0.20 117.00
Lauren Kiss regarding non estate property
procedures

02/10/17 GRL Review correspondence from Neil Bivona regarding 0.30 175.50

broker analysis for residential properties (.2); review
correspondence from Ronald J. Friedman regarding
same (.1}

02/10/17 KPS Conference with Brian Powers regarding Cy Pres 0.20 139.00
doctrine and treatment of restricted assets in
disposition of personal property motion

02/10/17 BWP Review motion approving procedures for disposition 1.30 422.50
of non-estate property (.9); conference with Kenneth
P. Silverman regarding same (.2); telephone call with
Lauren Kiss regarding same (.2)

02/13/17 GRL Review correspondence from Sean Southard 0.10 58.50
regarding disputes over estate property

02/13/17) GRL Review correspondence from Sean Southard 0.20 117.00
regarding proposal for lenders, draft reply

02/13/17 BWP Review revised draft of motion to approve 0.40 130.00

procedures for disposition of non-estate property;
draft correspondence to Committee regarding same

02/14/17 RJF Review correspondence with Committee members 0.30 175.50
and responses of Debtor's counsel to issues raised
regarding the motion contemplated to address the
disposition of non-estate property

02/14/17 GRL Review correspondence from Ronald J. Friedman 0.10 58.50
regarding call with Brian Pfeiffer

02/14/17 GRL Review correspondence from Lauren Kiss regarding 0.10 58.50
procedures for disposition of non estate property

02/15/17. = GRL Conference with Kenneth P. Silverman regarding 0.20 117.00
status of case administration and related issues

02/15/17 GRL Review correspondence from Brian Powers to 0.20 117.00

Lauren Kiss regarding Debtor's insurance (.1); review
correspondence from Sean Southard regarding
same (.1)

02/15/17 KPS Conference with Gerard R. Luckman regarding 0.20 139.00
status of case administration and related issues

02/15/17 BWP Draft correspondence to Debtor's counsel regarding 0.60 195.00
066648

02/15/17

02/15/17

02/17/17

02/18/17

02/21/17

02/21/17

02/22/17

02/24/17

02/24/17

02/27/17

02/27/17

02/27/17

02/27/17

02/27/17

02/28/17

02/28/17
02/28/17

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

BWP

BYP

BWP

RJF

KPS

BWP

RJF

RJF

BWP

KPS

BWP

BWP

BYP

BWP

RJF

RJF
BWP

procedures for disposition of non-estate property (.1);
reivew reply from Sean Southard and respond (.2);
telephone call with Sean Southard regarding same
(.3)

Review e-mail from Lori Zaikowski regarding motion
to establish procedures regarding disposition of
non-estate property; draft reply

Review proposed notice and order in connection with
Debtor's motion approving procedures for disposition
of non-estate property

Review Debtor's monthly operating report

Correspondence with Brian Pfeiffer counsel to DIP
lenders regarding lender term sheet and advancing
dialog

Conference with Brian Powers regarding case status
and court hearings and deadlines

Conference with Kenneth P. Silverman regarding
case status and court hearings and deadlines

Conference with Kenneth P. Silverman regarding
DIP lender negotiation status

Review correspondence from Lori Zaikowski of
Committee and Brian Powers response.

Review settlement proposal with secured lender

Conference with Brian Powers regarding providing
information to creditor's committee and establishing
date for committee meeting

Review é-mails from Lori Zaikowski regarding
various issues in case

Draft correspondence to Committee members
regarding offer from lenders and status of case

Conference with Kenneth P. Silverman regarding
questions from Committee and lender offer

Conference with Kenneth P. Silverman regarding
secured creditor's proposal to settle carve -out

Confer wth Brian Powers regarding upcoming
meeting of Committee and agenda for same

Attend court hearing and confer with all paties

Review stipulation and order extending period to
remove litigation to bankruptcy court

Subtotal Case Administration

Claims Admin/Ob

02/06/17

RJF

Communications with Sam Logan of creditor

Inveice # 117529

 

Page 6
0.50 162,50
1.20 390.00
0.30 97.50
0.10 58.50
0.20 139.00
0.20 65.00
0.20 117.00
6.10 58.50
0.50 162.50
0.30 208.50
0.30 97.50
0.20 65.00
6.30 97.50
0.20 65.00
6.20 117.00
1.50 877.50
0.10 32.50
19.00 $9,670.00
0.10 58.50
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

 

 

 

066648 Committee Unsecured Creditors Invoice # 117529 Page 7
Blackboard regarding status of proceedings and
proof of claim status and protocol
02/06/17 GRL Review correspondence from Lauren Kiss regarding 0.10 58.50
resolution of Karopwicz motion
02/21/17 KPS Conference with Brian Powers regarding treatment of 0.20 139.00
claims and bar date
02/21/17 BWP Telephone call with Christine O'Neill regarding bar 0.30 97.50
date notice and filing deadline
02/21/17 BWP Telephone call with former Dowling professor 0.20 65.00
regarding bar date notice and filing deadline
02/21/17 BWP Conference with Kenneth P. Silverman regarding 0.20 65.00
treatment of claims and bar date
Subtotal Claims Admin/Ob 1.10 $483.50
Claims Objections
02/09/17 ACA Review and analyze lien positions 2.60 1,625.00
02/10/17 ACA Analyze liens and draft memorandum regarding 2.30 1,437.50
same
02/12/17 ACA Review liens and revise memorandum 0.70 437.50
02/21/17 ACA Revise lien memorandum; review additional 3.40 2,125.00
documents
Subtotal Ciaims Objections 9.00 $5,625.00
Fee Application
02/10/17 BWP Revise legal bill for compliance with UST Guidelines 1.70 No Charge
02/13/17 BWP Revise legal bill for compliance with UST guidelines 3.10 No Charge
02/14/17 BWP Revise legal bill far compliance with UST guidelines 0.50 No Charge
02/21/17 RJF Conference with Brian Powers regarding fee notices 0.10 58.50
from Debtor and professionals
02/21/17 BWP Conference with Ronald J. Friedman regarding fee 0.10 32.50
notices from Debtor and professionals
Subtotal Fee Application 5.50 $91.00
Financing
02/02/17 GRL Conference with Kenneth P. Silverman regarding 0.60 351.00
DIP order bid challenge period (.2), review form of
order and status of final order (.2); draft
correspondence to Brian Pfeiffer regarding global
resolution (.1); conference with Kenneth P.
Silverman regarding same (.1)
02/02/17 KPS Conference with Gerard R. Luckman regarding lien 0.20 139.00
challenge period and secured lender's proposal
02/03/17 RJF Conference with Gerard R. Luckman regarding 0.20 117.00
066648

02/03/17

02/03/17

02/07/17

02/07/17

02/13/17

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02/18/17

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02/24/17

02/24/17

02/27/17

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

RJF

GRL

RJF

KPS

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GRL

KPS

KPS

RJF

RJF

RJF

RJF

KPS

RJF

RJF

RJF

negotiations with lenders

Conference call with Brian Pfeiffer and Gerard R.
Luckman regarding DIP

Conference with Ronald J. Friedman regarding
negotiations with lenders (.2); conference call with
Ronald J. Friedman and Brian Pfeifer regarding
same (.3)

Conference with Kenneth P. Siiverman regarding
status of continuing negotiations to carve-out estate
funds from sale of real property and to extend lien
challenge of secured lenders

Conference with Ronald J. Friedman regarding
status of continuing negotiations to carve-out estate
funds from sale of real property and to extend lien
chailenge of secured lenders

Conference with Kenneth P. Silverman regarding
status of continuing negotiation with secured
creditors to fix estate carve-out

Review correspondence from Sean Southard
regarding offer from lenders, draft reply

Conference with Gerard R. Luckman regarding
status of continuing negotiations with secured
creditors to fix estate carve-out

Conference with Anthony C. Acampora regarding
continuing review of secured creditor liens

Telephone call from Margaret Rock, former
employee regarding potential claims

Receive and review correspondence from Brian
Pfeiffer from Schulte Roth, re Committee carve out
and sale proceeds

Conference with Kenneth P. Silverman regarding
status of DIP facility and interim order

Conference with Kenneth P. Silverman regarding
status of negotiation with secured creditors

Conference with Ronald J. Friedman regarding
status of negotiation with secured creditors

Review communication from Neil Begley with DIP
lender proposal for resolution of potential claims and
sharing of sale and other proceeds. Analysis of
waterfall attributes

Confer with K Silverman regarding receipt of term
sheet and preliminary analysis of same

Correspondence from lan Hammel counsel to DIP
lenders regarding Rule 408 term sheet

Invoice # 117529

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175.50

58.50
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors

02/28/17 RJF

02/28/17 KPS

02/28/17 KPS

02/28/17 BWP

Litigation
02/01/17 KPS

02/02/17 GRL
02/02/17 KPS
02/03/17 RJF
02/03/17 RJF
02/03/17 RJF
02/09/17 ACA
02/09/17 ACA
02/10/17 ACA

02/10/17 ACA
02/21/17 KPS

02/22/17 RJF

02/22/17 KPS

02/24/17 KPS

Conference with Kenneth P. Silverman regarding
proposal from secured creditors concerning potential
carve-out for estate

Conference with Ronald J. Friedman regarding
proposal from secured creditors concerning potential
carve-out for estate

Conference with Brian Powers regarding secured
creditor proposal to fund estate carve-out; request
illustration

Conference with Kenneth P. Silverman regarding
secured creditor proposal to fund estate carve-out,
request illustration

Subtotal Financing

Conference with Anthony C. Acampora regarding
analysis of secured party liens

Review correspondence from Sean Southard
regarding 2004 order for Cigna

Review status report and preparation for status
conference

Confer with G. Luckman regarding Brian Pfeiffer
communications regarding DIP lender

Call with Gerard Luckman and Brian Pfeiffer re DIP
lender proposal

Review proposed order resolving CIGNA rule 2004
objection

Review financial statements in connection with
potential claims against accountants

Review directors and officers insurance policies in
connection with potential claims against the Debtor's
board of directors

Review D&O policy
Finalize financial analysis of financial statements

Conference with Anthony C. Acampora regarding
motion to compel BR 2004 production of documents
and information from KPMG

Telephone call with Brian Pfeiffer counsel to DIP
lenders re term sheet proposal and negotiation re
same

Review BR 2004 application to examine KPMG LLP
and provide comments to Anthony C. Acampora

Conference with Brian Powers regarding pending
plaintiff's actions in State Court and notices of

Invoice # 117529

 

Page g
0.20 117.00
0.20 139.00
0.20 139.00
0.20 65.00
7.10 $4,255.50
0.20 139.00
0.20 117.00
0.20 139.00
0.20 117.00
0.20 117.00
0.20 117.00
1.00 625.00
1.00 625.00
0.50 312.50
0.30 187.50
0.20 139.00
0.30 175.50
0.30 208.50
0.20 139.00
066648

02/24/17

02/24/17

02/24/17

02/27/17

Name

Acampora, Anthony C.

Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Friedman, Ronald J
Luckman, Gerard R
Powers, Brian W.
Silverman, Kenneth P

Disbursements

 

 

Committee Unsecured Creditors Invoice # 117529 Page 10
removal
KPS Conference with Anthony C. Acampora regarding 0.20 138.00
continuing review of secured parties security
agreements and UCC financing statements and
discuss potential discovery strategies
KPS Review proposed settlement term sheet from 0.50 347.50
prepetition secured lenders to official committee of
unsecured creditors for estate carve-out of sale of
commercial real property
BWP Conference with Kenneth P. Silverman regarding 0.20 65.00
regarding pending plaintiff's actions in State Court
and notices of removal
KPS Conference with Brian Powers regarding secured 0.20 139.00
creditor's proposal to settle carve-out
Subtotal Litigation 6.10 $3,848.50
For professional services rendered 57.40 $29,567.50
Atty/Para Summary
Hours Rate Amount
14.40 625.00 $9,000.00
14.40 585.00 $8,424.00
5.20 585.00 $3,042.00
14.70 325.00 $3,055.00
8.70 695.00 $6,046.50
57.40 $29,567.50
02/17/2017 FedEx Server to:Dowling College 10.84
02/17/2017 FedEx Server to:Klestadt & Winters 10.84
02/17/2017 FedEx Server to:Mintz 10.84
02/17/2017 FedEx Server to:Schulte Roth & Zabel LLP 10.84
02/17/2017 FedEx Server to:ACA Financial Guaranty Corp. 10.84
02/17/2017 FedEx Server to:United States Trustee for EDNY 10.84
TOTAL $65.04
Disbursement Summary
015 Postage $65.04

$65.04
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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Previous Balance $135,739.50

Balance due $165,372.04
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

‘AG SILVERMAN
ub ACAMPORA

Character i Everything* LLP

Attorneys
100 Jerichie: Quadranple. Site 200, Jenclio, New York 11753
316.479.6500
yaw. Superman Acsmpord conn

Invoice submitted to:

Official Committe of Unsecured Creditors

Invoice Date: April 14, 2017

066648

Invoice #

03/01/17
03/02/17

03/03/17

03/06/17

03/08/17

03/08/17

03/13/17

03/13/17

03/23/17

Client # 066648 Official Committee of Unsecured Creditors
Matter # 1 Dowling College

118051
Professional services

Fed ID # XX-XXXXXXX

 

Hours Amount
Asset Analysis
BWP Revise Rule 2004 motion 0.60 195.00
BWP Draft proposed Rule 2004 order for KPMG; draft 1.30 422.50
proposed subpoena in connection with same
BWP Analyze offer to estate from secured lenders with 6.30 2,047.50
respect to proceeds of sale of Debtor's assets
BWP Prepare analysis spreadsheet in connection with 2.10 682.50
secured creditor carve-out offer
ACA Conference with Kenneth P. Silverman regarding 0.20 125.00
status of review of secured creditors’ security interest
KPS Conference with Anthony ©. Acampora regarding 0.20 139.00
status of review of secured creditors’ security interest
KPS Conference with Anthony C. Acampora regarding 0.20 139.00
status of secured creditor lien review
ACA Conference with Anthony C. Acampora regarding 0.20 125.00
status of secured creditor lien review
RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
continuing negotiations with secured parties
concerning carve-outs
Subtotal Asset Analysis 11.30 $3,992.50

Asset Sale
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Invoice # 118051 Page 2
03/02/17 RJF Review status of marketing efforts relating to 0.20 117.00
Oakdale and review Brookhaven process materials
and site plan
03/02/17 BWP Review letter filed by New York State regarding 0.20 65.00

national historic register qualifications of the Debtor's
real property

03/02/17 BWP Telephone call with Lauren Kiss regarding sale of IP 0.20 65.00
addresses

03/06/17 BWP Review marketing status report provided by Debtor 0.40 130.00
with respect to Oakdale campus

03/06/17 BWP Review e-mails from Sean Southard and Ronald J. 0.20 65.00

Friedman regarding potential stalking horse on
Oakdale property

03/07/17 RJF Receive and review correspondence regarding 0.20 117.00
stalking horse offer

03/07/17 RJF Telephone call from Brian Trust of Mayer Brown 0.20 117.00
regarding client of firm interest in 363 sale

03/07/17 KPS Review real estate brokers sales and marketing 0.10 69.50
report

03/07/17 BWP Review notice of sale of residential property filed by 0.20 65.00
debtor

03/08/17 KPS Review sale notice for residential portfolio property 0.10 69.50

03/10/17 RJF Review stalking horse agreement 0.50 292.50

03/13/17 RJF Telephone call from Bob Koen of Mayer Brown 0.10 58.50
regarding bid deadline and his client's interest

03/14/17 RJF Receive and review correspondence from Sean 0.20 117.00
Southard regarding stalking horse potential

03/15/17 BWP Review revisions to IP address sale motion (.3); 0.50 162.50
telephone call with Lauren Kiss regarding same (.2)

03/15/17 BWP Review e-mail exchange between Sean Southard 0.20 65.00
and Kabir Javaid regarding objection to residential
sales

03/16/17 RJF Conference with Kenneth P. Silverman regarding 0.30 175.50
status of sales and marketing of Babylon property

03/16/17 KPS Conference with Ronald J. Friedman regarding 0.30 208.50
status of sales and marketing of Babylon property

03/20/17 RJF Review potential stalking horse agreement 0.40 234.00

03/20/17 RJF Receive and review correspondence from Bob 0.20 117.00
Rosenfeld regarding broker inquiry

03/20/17 RJF Conference call with Bob Rosenfeld, Neii Bivona, 0.50 292.50
Lauren Kiss and Sean Southard regarding Oakdale
sale

03/20/17 BWP Review sale status report for Oakdale campus 0.30 97.50
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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03/21/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117,00
preparation of auction of Oakdale campus

03/21/17 KPS Conference with Ronald J. Friedman regarding 0.20 139.00
preparation of auction of Oakdale campus

03/22/17 RJF Review email regarding bid procedures, stalking 0.30 175.50
horse process and alternatives

03/22/17 RJF Telephone call with Sean Southard regarding sale 0.30 175.50
process and timing

03/22/17 KPS Telephone call from Ronald J. Friedman regarding 0.20 139.00

stalking horse and sealed bid process and creditors’
committee position

03/22/17 BWP Draft correspondence to Committee members 0.30 97.50
regarding status of Oakdale sale and upcoming
timeline

03/22/17 BYP Review multiple e-mails from various parties 1.60 520.00

regarding revisions to stalking horse APA and
emergency motion to approve same (.5); review
proposed motion to approve stalking horse APA and
motion to shorten time (.8); review revised stalking
horse APA (.3)

03/23/17 KPS Conference with Brian Powers regarding status of 0.20 139.00
debtor's proposed stalking horse sale and sale
procedures

03/23/17 BYP Conference with Kenneth P. Silverman regarding 0.20 65.00

status of debtor's proposed stalking horse sale and
sale procedures

03/23/17 BYP Telephone call with Sean Southard regarding 0.20 65.00
stalking horse contract and emergency motion to
approve same

03/23/17 BWP Draft correspondence to Committee members 0.40 130.00
regarding Debtor's proposed stalking horse
agreement and emergency motion to approve same

03/24/17 RJF Telephone call with Kenneth P. Silverman regarding 0.20 117.00
conference call with debtor on sale of Oakdale
campus

03/24/17 KPS Telephone call to Ronald J. Friedman regarding 0.20 139.00
conference call with debtor on sale of Oakdale
campus

03/24/17 BWP Review Debtor's motion to approve stalking horse 0.50 162.50
contract and motion to shorten time with respect to
hearing on same; review Court's order granting
motion to shorten time

03/24/17 BWP Review proposed amended notice of sale 0.20 65.00

03/24/17 BWP Review and reply to e-mail from Lori Zaikowski 0.20 65.00
regarding stalking horse agreement and proposed
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Invoice # 118051 Page 4
revised dates
03/24/17 BWP Review e-mail from Sean Southard regarding filing of 0.50 162.50

motion to approve stalking horse agreement; review
responses from various parties; teleconference with
working group regarding rescheduling of auction

03/27/17 RJF Review proposed stalking horse agreement 0.20 117.00

03/27/17 RJF Revise terms of APA for more favorable treatment to 0.40 234.00
Debtor's estate

03/27/17 RJF Confer with Brian Powers regarding stalking horse 0.40 234.00

agreement and position relative thereto(.2); call with
Sean Southard regarding stalking horse status and
position of debtor and brokers (.2)

03/27/17 RJF Conference with Kenneth P. Silverman regarding 0.10 58.50
stalking horse bid

03/27/17 KPS Conference with Ronald J. Friedman regarding 0.10 69.50
stalking horse bid

03/27/17 BWP Confer with Ronald J. Friedman regarding stalking 0.20 65.00
horse agreement and position relative thereto

03/28/17 RJF Further APA redline revisions as against proposed 0.40 234.00
stalking horse agreement

03/28/17 RJF Revise auction rules, create redline and send to 1.20 702.00

Debtor's counsel, further review of updated APA form
for most favorable terms

03/28/17 RJF Revise objection to stalking horse agreement 0.80 468.00
proposed by Debtor

03/28/17 RJF Review proposed form of sale order 0.30 175.50

03/28/17 RJF Review email from Sean Southard with email 0.30 175.50

addrresses for bid submissions and related bid
delivery instructions, and revisions pertaining to most
favorable APA form

03/28/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
status of saies and marketing of Oakdale and
Brookhaven campus

03/28/17 RJF Conference with Brian W. Powers regarding motion 0.30 175.50
to approve stalking horse agreement and objection to
same

03/28/17 KPS Conference with Ronald J. Friedman regarding 0.20 139.00

status of sales and marketing of Oakdale and
Brookhaven campus

03/28/17 KPS Conference with Brian Powers regarding preparation 0.30 208.50
of opposition to stalking horse bid and over bid
protections to proposed offers

03/28/17 KPS Conference with Ronald J. Friedman regarding 0.30 208.50
preparation and filing objection to debtor's proposed
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

066648 Committee Unsecured Creditors Invoice # 118051 Page 5
stalking horse contract vendee

03/28/17 JBF Telephone call with title company regarding transfer 0.30 148.50
tax; prepare email

03/28/17 BWP Conference with Kenneth P. Silverman regarding 0.30 97.50

regarding preparation of opposition to stalking horse
bid and over bid protections to proposed offers

03/28/17 BWP Conference with Ronald J. Friedman regarding 0.30 97.50
motion to approve stalking horse agreement and
objection to same

03/28/17 BWP Draft objection to motion to approve stalking horse 1.60 520.00
agreement
03/29/17 RJF Telephone call with Brian Powers and Sean 0.20 117.00

Southard regarding upcoming hearing on stalking
horse asset purchase agreement

03/29/17 RJF Receive and review bid submission of NCF, counsel 0.30 175.50
Cullen & Dykman, review same

03/29/17 RJF Conference with Kenneth P. Silverman and Brian 0.20 117.00
Powers regarding submission of bid by NFC

03/29/17 RJF Telephone call with Stan Yang of the US Trustee's 0.20 117.00
office regarding stalking horse

03/29/17 RJF Revise and finalize objection to stalking horse 0.50 292.50
agreement proposed by Debtor

03/29/17 RJF Receive and review NCF Bid package 0.40 234.00

03/29/17 RJF Telephone call from Bob Koen of Mayer Brown 0.10 58.50

regarding potential for his client to submit bid this
afternoon and qualify for bidding at auction

03/29/17 RJF Finalize objection to stalking horse asset purchase 0.20 117.00
agreement

03/29/17 RJF Review bid package of Jason Goldstoff of Herrick 0.80 468.00
Feinstein's client Ritnand Balved Education
Foundation

03/29/17 RJF Review Suffolk Realty, Island Estate LLC seal bid for 0.30 175.50
Oakdale campus

03/29/17 RJF Review bid received from Stephen Naidu on behalf 0.70 409.50
of Princeton Education

03/29/17 RJF Review bid of Island Estate LLC received from Kabir 0.40 234.00
Javaid

03/29/17 RJF Conference call with debtor and secured parties re: 0.60 351.00
bids received and stalking horse motion hearing

03/29/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00

preparation for hearing on objections to auction and
approval of stalking horse contract vendee

03/29/17 ACA Revise opposition to Asset Purchase Agreeement 0.30 187.50
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03/29/17

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Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

Committee Unsecured Creditors

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BWP

RJF

RJF

RJF

RJF

RJF

KPS

Conference with Ronald J. Friedman regarding
preparation for hearing on objections to auction and
approval of stalking horse contract vendee

Conference with Ronald J. Friedman and Brian
Powers regarding objections to stalking horse
contract and review of aucticn rules

Conference with Ronald J. Friedman regarding
preservation of sealed bids and prepare for hearing

Conference with Ronald J. Friedman regarding and
Sean Southard regarding upcoming hearing on
Stalking horse asset purchase agreement

Conference with Kenneth P. Silverman regarding
and Ronald J. Friedman regarding submission of bid
by NFC

Revise Committee's objection to motion to approve
stalking horse agreement pursuant to comments of
Ronald J. Friedman {.7); draft correspondence to
Sean Southard regarding same and review reply (.2):
ensure proper filing and service of same (.5)}

Review e-mails from bidders regarding offers for
Oakdale property; review bids and proposed asset
purchase agreements

Teleconference with working group regarding bids
received and sale of Oakdale campus

Draft correspondence to Committee members
regarding bids received and objection to stalking
horse agreement

Prepare for and attend hearing on Debtor's motion
seeking stalking horse; confer with counsel to
Debtor, counsel to Board of Directors, Rob
Rosenfeld and Stan Yang

Conference cail with Debtor's counsel, secured
creditors and their counsel regarding bids received
and sale process

Prepare correspondence to Committee regarding the
stalking horse objection and the Court's ruling

Conference call with debtor and secured creditors re:
bids and qualification of bidders; NY Attorney
General's position re: approval of sale

Conference with Kenneth P. Silverman regarding
hearing to consider approval of stalking horse
vendee and objections by creditors' committee

Telephone call to Ronald J. Friedman regarding
hearing to consider approval of stalking horse
vendee and objections by creditors' committee

Invoice # 118051

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1,170.00

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175.50

409.50

117.00

139.00
Case o-Lo-/oo40-reg VOC 900-4 Filed O4icoil/f Entered O4/co/1L/ Liile:Qo

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03/31/17 KPS Review numerous emails regarding preparation for 0.20 139.00
auction of Oakdale campus

03/31/17 BYP Review e-mail from Sean Southard regarding 0.30 97.50

revisions to propsoed auction rules; review revised
auction rules

 

Subtotal Asset Sale 36.20 $17,692.00

Case Administration

03/06/17 BYP Conference with Kenneth P. Silverman regarding 0.50 162.50
preparation for creditors’ committee meeting; review
real estate and secured creditor issues

03/10/17 RJF Prepare correspondence to Bob Rosenfeld and Neil 0.20 117.00
Bivona, counsel to Debtor regarding DIP lender term

sheet
03/10/17 KPS Conference with Brian Powers regarding bar date 0.20 139.00

and review of claims for status conference; interim
DIP financing order

03/10/17 BWP Conference with Kenneth P. Silverman regarding bar 0.20 65.00
date and review of claims for status conference;
interim DIP financing order

03/10/17 BWP Telephone call with Maryellen Bridgewater regarding 0.20 65.00
case status and proof of claim deadlines

03/13/17 KPS Review numerous emails regarding status 0.20 139.00
conference and status of DIP financing order

03/14/17 KPS Review Interim DIP Financing Order and related sale 0.20 139.00

and scheduling issues; memo to Brian Powers
regarding case status

03/21/17 RJF Telephone call with Brian Pfeiffer regarding stalking 0.30 175.50
horse and DIP lender term sheet status

03/21/17 KPS Conference with Ronald J. Friedman regarding DIP 0.20 139.00
status

03/21/17 SBK Prepare and File via ECF Notice and Application for 0.20 30.00

Entry of Order Directing Examination of KPMG LLP,
By an Authorized Partner or person with Knowledge
of Debtor's Business Transactions and Production of
Documents Pursuant to Rule 2004 of the Federal
Rules of Bankruptcy Procedure

03/24/17 KPS Conference with Brian Powers regarding conference 0.20 139.00
with debtor and preparation for conference call with
creditors' committee

03/24/17 BWP Conference with Kenneth P. Silverman regarding 0.20 65.00
regarding conference with debtor and preparation for
conference call with creditors’ committee

03/29/17 KPS Review motion for an order extending exclusivity and 0.20 139.00
memo to Brian Powers regarding motion by real
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estate brokers for retention and related relief

03/29/17 BWP Conference with Kenneth P. Silverman regarding
preparation for conference with creditors’ committee
on case auction status

Subtotal Case Administration
Claims Admin/Ob
03/01/17 RJF Telephone call with Neil Bivona regarding DIP
lenders balances due, pre petition debt structure
03/07/17 ACA Continue lien analysis and revise memorandum
03/08/17 ACA Continue lien analysis for bondholder claims

03/09/17 BWP Telephone call with former student regarding proof of
claim deadline

03/13/17 ACA Review bond documents and revise memorandum
03/14/17 ACA Revise memorandum regarding lien issues
03/21/17 KPS Conference with Brian Powers regarding review and

analysis of filed claims; assets sales; carve-outs and
related issues

03/21/17 BWP Conference with Kenneth P. Silverman regarding
review and analysis of file claims, assets sales,
carve-outs and related issues

03/27/17 RJF Conference with Kenneth P. Silverman regarding
status of claims and preparation for claims review
with committee

03/27/17 KPS Conference with Ronald J. Friedman regarding
status of claims and preparation for claims review
with committee

03/29/17 RJF Analysis of initial claims portfolio gathered by Garden
City Group
03/29/17 KPS Conference with Brian Powers regarding

disseminating claims analysis to creditors' committee

03/29/17 BWP Conference with Kenneth P. Silverman regarding
disseminating claims analysis to creditors’ committee

03/29/17 BWP Review claims analysis provided by Debtor's counsel

Subtotal Claims Admin/Ob
Creditors Meeting
03/06/17 RJF Conference call with Official Committee of

Unsecured Creditors discuss sale of Oakdale, IP
addrress sale, secured creditor offer

03/06/17 KPS Conference with Brian Powers regarding preparation
for creditors' committee meeting; review real estate
and secured creditor issues

 

 

Page 8
0.20 65.00
3.20 $1,579.00
0.20 117.00
2.40 1,500.00
4.30 2,687.50
0.20 65.00
3.80 2,375.00
1.30 812.50
0.20 139.00
0.20 65.00
0.30 175.50
0.30 208.50
0.50 292.50
0.20 139.00
0.20 65.00
0.80 260.00
14.90 $8,901.50
1.00 585.00
0.50 347.50
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03/06/17 KPS Prepare for and conduct conference with creditors’ 1.70 1,181.50
committee concerning case status
03/06/17 BWP Meeting with Committee regarding case status and 1.70 552.50
sales process
03/06/17 BWP Draft agenda in connection with Committee meeting; 0.30 97.50
draft correspondence to Committee members
regarding same
03/07/17 BWP Draft minutes of 3/6 Committee meeting 1.20 390.00
03/24/17 BWP Review and reply to e-mail from Lori Zaikowski 0.20 65.00
regarding Committee call
03/29/17 KPS Conference with Brian Powers regarding preparation 0.20 139.00
for conference with creditors' committee on case
auction status
03/30/17 RJF Conference with Kenneth P. Silverman regarding 0.30 175.50
preparation for hearing on creditor committee
objections to stalking horse sales contract and
related asset purchase agreement issues
03/30/17 KPS Conference with Ronald J. Friedman regarding 0.30 208.50
preparation for hearing on creditor committee
objections to stalking horse sales contract and
related asset purchase agreement issues
Subtotai Creditors Meeting 7.40 $3,742.00
Fee Application
03/08/17 BWP Review RSR Consulting compensation and expense 0.40 130.00
report
03/09/17 BWP Review Klestadt monthly fee statement 0.40 130.00
03/10/17 RJF Conference with Brian Powers regarding FPM and 0.20 117.00
K&S monthly fee statements and budget
03/10/17 BWP Conference with Ronald J. Friedman regarding FPM 0.20 65.00
and K&S monthly fee statements and budget
03/10/17 BWP Review monthly fee statement of FPM Group 0.20 65.00
03/10/17 BWP Revise legal bill for compliance with UST guidelines 1.30 No Charge
03/16/17 KPS Conference with Brian Powers regarding status of 0.20 No Charge
preparation of monthly compensation statement
03/17/17 KPS Review and execute monthly fee request for fees 0.30 No Charge
and expenses as creditors’ counsel
Subtotal Fee Application 3.20 $507.00
Financing
03/06/17 RJF Conference with Kenneth P. Silverman regarding 0.20 117.00
secured creditor offer negotiations and interim DIP
contemplated for March 14 hearing
03/10/17 RJF Conference call with Sean Southard, Brian Pfeiffer, 0.30 175.50
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Committee Unsecured Creditors

066648
03/10/17 BWP
03/13/17 BWP
03/2 1/17 RJF
03/23/17 KPS
03/27/17 RJF
03/27/17 RJF
03/27/17 RJF
Litigation
03/01/17 RJF
03/01/17 RJF
03/08/17 KPS
03/10/17 ACA
03/10/17 KPS
03/14/17 RJF
03/14/17 RJF
03/14/17 ACA
03/14/17 ACA

lan Hamel and Brian Powers, Lauren Kiss regarding
interim DIP order and status of negotiations

Telephone call with counsel to debtor and lenders
regarding 3/14 hearing and sale status

Review proposed interim DIP order and budget (.3);
review revised order sent by Debtor's counsel (.2)

Conference with Kenneth P. Silverman regarding
DIP status

Conference with Ronald J. Friedman regarding
continuing negotiations with secured parties
concerning carve-outs

Telephone call with Sean Southard counsel to debtor
regarding discussions with DIP lenders

Prepare for conference call with Brian Pfeiffer
counsel to ACA and lan Hammel counsel to
Oppenheimer re DIP lender term sheet and potential
resolution with secured creditors

Conference call with Brian Pfeiffer and lan Hamel,
counsel to DIP lenders and pre petition secured
creditors regarding term sheet, clarifications and
revisions

Subtotal Financing

Telephone call with Bob Rosenfeld regarding KPMG
2004 and pre petition lenders claims

Revise KPMG Bankruptcy Rule 2004 order and
confer with Anthony C. Acampora regarding
documents to be obtained

Conference with Anthony C. Acampora regarding
potential discovery regarding board conduct

Conference with Kenneth P. Silverman regarding
preparation for discovery for officers and directors

Conference with Anthony C. Acampora regarding
preparation for discovery for officers and directors

Conference with Anthony C. Acampora regarding
D&O claims and documentation regarding same

Conference with Anthony C. Acampora regarding
KPMG auditor Bankruptcy Rule 2004 production
request

Conference with Ronald J. Friedman regarding
KPMG auditor Bankruptcy Rule 2004 production
request

Conference with Ronald J. Friedman regarding D&O

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Page 10
0.30 97.50
0.50 162.50
0.20 117.00
0.20 139.00
0.20 117.00
0.30 175.50
0.40 234.00
2.60 $1,335.00
0.20 117.00
0.20 117.00
0.20 139.00
0.20 125.00
0.20 139.00
0.20 117.00
0.20 117.00
0.20 125.00
0.20 125.00
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Subtotal

Subtotal

066648
03/14/17 ACA
03/20/17 ACA
03/20/17 BVP
03/28/17 RJF
03/28/17 ACA
03/29/17 RJF
03/30/17 ACA
Plan/Disclose
03/28/17 RJF
03/28/17 RJF
03/29/17 BYP
Name

Acampora, Anthony C.

Friedman, Jack B.
Friedman, Ronald J
King, Sheree B.
Powers, Brian W.
Silverman, Kenneth P
Silverman, Kenneth P

Committee Unsecured Creditors

claims and documentation regarding same
Research director and officer claims issues

Revise KPMG Bankruptcy Rule 2004 order and
application; comnference with Brian Powers
regarding same

Draft subpoena in connection with Rule 2004 motion
for KPMG (.2); draft notice of hearing in connection
with same (.3)

Telephone call from Foley Hoag counsel Euripedes
Salminares counsel to KPMG; confer with Anthony
C. Acampora

Telephone call from KPMG counsel regarding
Bankruptcy Rule 2004 responses

Conference with Kenneth P. Silverman regarding
preservation of sealed bids and prepare for hearing

Call with KPMG counsel regarding stipulation settling
motion

Litigation

Confer with Sean Southard regarding issue relating
to exclusivity and bridge order to be proposed

Review various correspondence emails relating to
exclusivity motion scheduled by bridge order for April
26 @ 1:30

Review Debtor's motion to extend exclusive periods
Plan/Disclose

For professional services rendered

Atty/Para Summa

Hours

14.90
0.30

23.80

0.20

35.70

0.50

8.80
84.20,

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1.20 750.00

0.30 187.50

0.50 162.50

0.10 58.50

0.20 125.00

0.20 117.00

0.10 62.50

4.40 $2,584.00

0.10 58.50

0.10 58.50

0.80 260.00

1.00 $377.00

84.20 $40,710.00
Rate Amount
625.00 $9,312.50
495.00 $148.50
585.00 $13,923.00
150.00 $30.00
325.00 $11,180.00
0.00 $0.00
695.00 $6,116.00

$40,710.00
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Disbursements
03/16/2017 FedEx Server to:Dowling College 10.71
03/16/2017 FedEx Server to:Klestadt & Winters LLP 10.71
03/16/2017 FedEx Server to:Mintz 10.71
03/16/2017 FedEx Server to:Schulte Roth & Zabel LLP 10.71
03/16/2017 FedEx Server to:ACA Financial Guaranty Corp. 10.71
03/16/2017 FedEx Server to:Office of the United States Trustee 10.71
EDNY
03/16/2017. FedEx Server to:Klestadt & Winters 10.71
03/20/2017 FedEx Server to:c/o RSR Consulting 10.86
03/20/2017 FedEx Server to:Klestadt & Winters 10.86
03/20/2017 FedEx Server to:Mintz 10.86
03/20/2017 FedEx Server to:Schulte Roth & Zabe! LLP 10.86
03/20/2017 FedEx Server to:Schulte Roth & Zabel LLP 10.86
03/20/2017 FedEx Server to:ACA Financial Guaranty Corp. 10.86
03/20/2017 FedEx Server to:Office of the US Trustee/Eastern 10.86
Dist.
03/23/2017 Postage 1.82
TOTAL $152.81
Disbursement Summary
015 Postage $152.81
«$452.81
Previous Balance $56,775.54

Balance due $97 638.35
